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                                                                                             4/6/2022 1:43 PM
                                                                                                Velva L. Price
                                              D-1-GN-22-001610                                  District Clerk
                                                                                               Travis County
                                 CAUSE NO'                                                  D-1-GN-22-oo161o
                                                                                                 Ruben Tamez
 NEIL HESLIN, SCARLETT LEWIS,                  §                  IN THE DISTRICT COURT
 LEONARD POZNER, VERONIQUE                     §
 DE LA ROSA, MARCEL FONTAINE                   §
                                               §
            Plaintiffs                         §
                                               §
 v.                                            §                   TRAVIS COUNTY, TEXAS
                                               §
 ALEX E. JONES, INFOWARS, LLC,                 §
 FREE SPEECH SYSTEMS, LLC,                     §
 PQPR HOLDINGS LIMITED LLC,                    §
 JLJR HOLDINGS, LLC, PLJR                      §
 HOLDINGS, LLC, CAROL JONES,                   §
 DAVID JONES, PQPR HOLDINGS,                   §
 LLC, JLJR HOLDINGS LIMITED,                   §
 LLC, AEJ HOLDINGS, LLC, AEJ                   §
 TRUST 2018                                    §             200TH, DISTRICT COURT
                                               §
            Defendants.                        §                            DISTRICT COURT

                           PLAINTIFFS' ORIGINAL PETITION


                                         Introduction

       1.       After Alex Jones was sued for claiming the massacre at Sandy Hook Elementary

was a hoax, the infamous conspiracy theorist conspired to divert his assets to shell companies

owned by insiders like his parents, his children, and himself. Since being sued, Jones transferred

millions of dollars from his fortune to these insiderswhom he apparently thought were beyond

reach. But the Texas Uniform Fraudulent Transfer Act prohibits defendants from playing shell

games to shield assets from their creditors. And it allows creditors like the Sandy Hook Families

to void fraudulent transfers that defendants like Alex Jones make to their insiders. The Sandy

Hook Families and Fontaine therefore assert TUFTA claims against Jones and his insiders to foil

this scheme.




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                                               Parties
The Sandy Hook Families

       2.      Plaintiff Neil Heslin is an individual who resides in Connecticut.

        3.     Plaintiff Scarlett Lewis is an individual who resides in Connecticut.

       4.      Plaintiff Leonard Pozner is an individual who resides in Florida.

        5.     Plaintiff Veronique De La Rosa is an individual who resides in Florida.

Fontaine

        6.     Plaintiff Marcel Fontaine is an individual who resides in Massachusetts.

The Jones Debtors

        7.     Defendant Alex E. Jones is a resident of Austin, Texas. He hosts radio and web-

based news programing, including "The Alex Jones Show," and he owns Free Speech Systems,

LLC, which operates the website infowars.com. Jones can be served at his place of business,

InfoWars, 3019 Alvin Devane Blvd., Suite 300-350, Austin, TX 78741.

        8.     Defendant lnfoWars, LLC is a Texas limited-liability company with principal

ofﬁces located in Austin, Texas. It may be served at the address of its registered agent, Eric

Taube, at 100 Congress Ave., 18th Floor, Austin, TX 78701.

        9.     Defendant Free Speech Systems, LLC is a Texas limited-liability company with

principal ofﬁces located in Austin, Texas. It may be served at the address of its registered agent,

Eric Taube, at 100 Congress Ave., 18th Floor, Austin, TX 78701.

        10.    At all times relevant to this petition, these Jones Debtors operated as a joint

venture, joint enterprise, single-business enterprise, or alter ego.




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The Jones Transferees

       11.      Defendant PQPR Holdings Limited LLC is a Nevada limited-liability company. It

may be served at the address of its registered agent, Registered Agents Inc., at 401 Ryland St.,

Suite ZOO-A, Reno, NV 89502.

       12.      Defendant J LJR Holdings, LLC is a Nevada limited-liability company. 1t directly

and indirectly owns, operates, and receives income from PQPR Holdings Limited LLC. It may

be served at the address of its registered agent, Registered Agents Inc., at 401 Ryland St., Suite


200-A, Reno, NV 89502.

       l3.      Defendant PLJR Holdings, LLC is a Nevada limited-liability company. lt directly

and indirectly owns, operates, and receives income from PQPR Holdings Limited LLC. It may

be served at the address of its registered agent, Registered Agents Inc., at 401 Ryland St., Suite


ZOO-A, Reno, NV 89502.

       l4.      Defendant Carol Jones is a resident of Austin, Texas. She is Alex Jones's mother

and directly and indirectly owns, operates, and receives income from PQPR Holdings Limited

LLC. She can be served personally at 3402 Clawson Road, Austin, Texas 78704 or wherever she

can be found.

       15.      Defendant David Jones is a resident of Austin, Texas. He is Alex Jones's father

and directly and indirectly owns, operates, and receives income from PQPR Holdings Limited

LLC. He can be served personally at 3402 Clawson Road, Austin, Texas 78704 or wherever he

can be found.

       l6.      Defendant PQPR Holdings, LLC is an entity that has been previously identiﬁed

by the Jones Debtors as a party to transfers or obligations that Plaintiffs contend are fraudulent.

To date, Plaintiffs have found no entity by this name and no registered agent to receive service.

They will amend this pleading accordingly when a registered agent has been ascertained.


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          17.    Defendant J LJR Holdings Limited, LLC is an entity listed as a member of PQPR

Holdings Limited, LLC and PLJR Holdings, LLC. To date, Plaintiffs have found no entity by

this name and no registered agent to receive service. They Will amend this pleading accordingly

when a registered agent has been ascertained.

          18.    Defendant AEJ Holdings, LLC is an entity that has been identiﬁed previously by

the Jones Debtors as a party to transfers or obligations that Plaintiffs contend are fraudulent. To

date, Plaintiffs have found no entity by this name and no registered agent to receive service.

They will amend this pleading accordingly when a registered agent has been ascertained.

          l9.    Defendant AEJ Trust 2018 is an entity that has been identiﬁed previously by the

Jones Debtors as a party to transfers or obligations that Plaintiffs contend are fraudulent. To date,

Plaintiffs have found no entity by this name and no registered agent to receive service. They will

amend this pleading accordingly when a registered agent has been ascertained.

          20.    At all times relevant to this petition, the Jones Transferees and Defendant Alex

Jones operated as a joint venture, joint enterprise, single-business enterprise, or alter ego.


                                     Discovery-Control Plan
          21.    Discovery should be conducted under Level 3 case of the Texas Rules of Civil

Procedure.1 Plaintiffs seek monetary relief over $1 ,000,000.2


                                     Jurisdiction and Venue

          22.    The amount in controversy exceeds the Court's minimum jurisdictional

requirements.




1
    See Tex. R. CiV. P. 190.
2
  See Tex. R. Civ. P. 47. Plaintiffs may also seek injunctive relief, in which case they may
request expedited discovery. See Tex. R. Civ. P. 680.


                                                  4
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         23.    Venue is proper in Travis County because that's where certain Defendants resided

when the cause of action accrued and because all or a substantial part of the events or omissions

giving rise to the claims occurred in Travis County.3


                                                      Background
         24.    Alex Jones, through his media companies Free Speech Systems and InfoWars,

became a national ﬁgure by peddling bizarre conspiracy theories. Followers tune in to hear him

and his guests ramble about unsubstantiated claimslike how the September IIth attacks were

an inside job by the U.S government. They can also hear him tout the various products available

to buy on his InfoWars website. And they can then navigate to that website, where they have a

host of products available for purchase.

         25.    They can buy, for example, bumper stickers echoing the types of conspiracy

theories they hear on J ones's programming:




                      "WW-12m "w                                    FLUOR'BE


                   Covid-19 ls A Hoax       Bumper Sticker
                                        -




                                                              Blue Fluoride Bumper Sticker
                    Retail$595             Now: $3.95


                                                                   mm mums usr
                                                                                             4




3
    See Tex. CiV. Prac. & Rem. Code § 15.002.
4
  InfoWars Store, at "Stickers and Decals", https://www.infowarsstore.com/gear/stickers-and-
decals (last visited April 4, 2022).
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               They can even buy various "preparedness" kits ranging from seeds to storable




                               I
       26.

food to survival gear to nuclear and biological supplies:


          PREPAREDNESS




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       27.     The sale of these types of products on the InfoWars website and elsewhere

enabled the Jones Debtors to earn a fortune.

       28.     But after the Jones Debtors aimed their conspiracy theories at Sandy Hook

Elementaryclaiming the tragic shooting there was stagedthat all changed.




5
 InfoWars Store, at "Preparedness", https://www.infowarsstorecom/preparedness (last visited
April 4, 2022).


                                                 6
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The Sandy Hook Families and Fontaine sue the Jones Debtors for defamation.

       29.     In April 2018, the Sandy Hook Families and Fontaine sued the Jones Debtors for


defamation, among other claims, based on various lies and conspiracy theories Alex Jones

espoused through his media outlet (the Defamation Cases).6 The claims of the Sandy Hook

Familiesparents of children slain at Sandy Hookstem from conspiracy theories the Jones

Debtors disseminated that the mass shooting was a hoax.7 Similarly, Fontaine's claims arose

from falsehoods the Jones Debtors spread that he was the shooter responsible for murdering 17

people at a high school in Parkland, Florida.8

       30.     Rather than accept responsibility for propagating these lies, however, the Jones

Debtors continued to deﬂect the truth. The Jones Debtors ﬁrst tried to dismiss the Defamation

Cases. But the trial courts denied those attempts in part because the Jones Debtors refused to

cooperate in the cases' truth-ﬁnding phase of discovery. Instead of accepting blame then, the

Jones Debtors appealed the trial courts' denials of their dismissal motions. Each time, the

appellate court declined the Jones Debtors' requests to dismiss the cases. The appellate court


6
  Cause No.: D-l-GN-18-001835; Neil Heslz'n v Alex E. Jones, Infowars, LLC, Free Speech
Systems, LLC and Owen Shroyer; In the 2615' Judicial District Court of Travis County, Texas;
Cause No.: D-l-GN-18-001842; Leonard Pozner and Veronique De La Rosa v Alex E. Jones,
Infowars, LLC and Free Speech Systems, LLC; ln the 345th Judicial District Court of Travis
County, Texas; Cause No.: D-l-GN-l9-004651; Neil Heslz'n v Alex E. Jones, Infowars, LLC and
Free Speech Systems, LLC; In the 2615' Judicial District Court of Travis County, Texas; Cause
No.: D-l-GN-18-006623; Scarlett Lewis v Alex E. Jones, Infowars, LLC and Free Speech
Systems, LLC; 1n the 98th Judicial District Court of Travis County, Texas; Cause No.: D-l-GN-
 18-001605; Marcel Fontaine v Infowars, LLC, Free Speech Systems, LLC and Kit Daniels; In the
45 9th Judicial District Court of Travis County, Texas.
7
  See eg, Jones v. Heslin, No. 03-20-00008-CV, 2020 WL 4742834, at *1 (Tex. AppAustin
Aug. 14, 2020, pet. denied); Jones v. Heslin, No. 03-19-00811-CV, 2020 WL 1452025, at *1
(Tex. AppAustin March 25, 2020, pet. denied); Jones v. Pozner, No. 03-18-00603-CV, 2019
WL 5700903, at *9 (Tex. AppAustin Nov. 5, 2019, pet. denied); Jones v. Lewis, No. 03-19-
00423-CV, 2019 WL 5090500, at *4 (Tex. AppAustin October 11, 2019, pet. denied).
 Infowars, LLC v. Fontaine, No. 03-18-00614-CV, 2019 WL 5444400, at *1 (Tex. App.
8


Austin Oct. 24, 2019, pet. denied).


                                                 7
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even sanctioned the Jones Debtors for raising a frivolous appeal that misrepresented the

underlying facts and the governing law.9

         31.     Even after the appellate court allowed the Defamation Cases to proceed, the Jones

Debtors continued to obstruct discovery. Their repeated discovery abuses even culminated in the

trial court granting default judgments for the Sandy Hook Families and against the Jones Debtors

on liability in September 2021. The ﬁrst trial against the Jones Debtors on damages commences

at the end of April 2022. The next will follow soon after. In other words, judgments against the

Jones Debtors are imminent.


During the Defamation Cases, the Jones Debtors doomsday prepped for these eventual
judgments by diverting assets.

         32.     After the Sandy Hook Families and Fontaine ﬁled their Defamation Cases, the

Jones Debtors started diverting their assets. From 2018 to 2021, for example, Alex Jones

personally drew about $18 million from his InfoWars company, Free Speech Systems. These

draws were in addition to his yearly salary, which exceeded $600,000, and taken while Free

Speech Systems operated at a net loss in the millions each of those years.

         33.     Jones apparently drew these $18 million while his company, Free Speech

Systems, was insolvent. Just three months after the last appellate-court decision allowing the

Defamation Cases to proceed, a company named PQPR ﬁled a UCC Financing Statement

claiming a security interest in essentially everything Free Speech Systems owns. The claimed

security interest covers an alleged $54 million debt Free Speech Systems owes to PQPR. The

supposed debt began accruing years earlier as part of an arrangement where Free Speech

Systems sells PQPR's products on the InfoWars website. Under this alleged arrangement, PQPR

was to be reimbursed for the costs of the products and receive 70% of the sales revenue while


    Heslz'n, 2020 WL 1452025, at *6.
9
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Free Speech Systems retained the other 30%. In practice, however, Free Speech Systems

supposedly kept 100% of the revenue for about seven years and didn't pay for the goods PQPR

providedto the point where a $54 million debt had accumulated. All the while, PQPR not only

supplied Free Speech Systems with more products to sell but also paid Free Speech Systems

millions of dollars a year to advertise on the InfoWars website. PQPR still supplies the Jones

Debtors with products to sell and pays for advertising on the website.

       34.     So why would an independent business like PQPR continue to engage in such

questionable transactions?

       35.     Because PQPR is not actually an independent business. It's an insider of the Jones

Debtors. It is owned and operated directly or indirectly by Jones, his parents, and his children

through an alphabet soup of shell entities like JLJR Holdings Limited LLC; JLJR Holdings,

LLC; PLJR Holdings, LLC; PQPR Holdings, LLC; AEJ Holdings, LLC; and AEJ Trust 2018.
And the income PQPR receivesincluding from sources like the Jones Debtorsgoes to Alex

Jones and these Jones Transferees.

       36.     And after the Defamation Cases began, the Jones Debtors started transferring

large sums of money to the Jones Transferees. These sums include money the Jones Debtors

started regularly transferring from Free Speech Systems to PQPR the same month that the default


judgments were rendered. In fact, the month the default judgments were rendered, Free Speech

Systems started transferring to PQPR between $11,000 per day and $11,000 per week plus 60

80% of Free Speech Systems' sales revenuesupposedly just to pay the interest on the alleged

$54 million debt. Free Speech Systems claims these payments are part of a "ﬁnancial

disentanglement between the two companies[.]" In reality, they're transfers designed to siphon

off the Jones Debtors' assets to make them judgment-proof.




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          37.    This fact is only conﬁrmed by the jaw-dropping amount in transfers the Jones

Debtors made during the Defamation Cases. In 2021 alone, the Jones Debtors transferred from

Free Speech Systems tens of millions more than it cost to operate that year. These transfers

started just four months after the last appellate-court decision was issued that allowed the

Defamation Cases to proceed.


                                        Causes of Action

          38.    The Sandy Hook Families and Fontaine assert fraudulent-transfer claims under

the Texas Uniform Fraudulent Transfer Act to void transfers between the Jones Debtors and the

Jones Transferees. Texas enacted TUFTA to prevent debtors from prejudicing creditors by

improperly moving assets beyond their reach." Through TUFTA's statutory scheme, creditors

may seek recourse for fraudulent transfers of assets or property." The Sandy Hook Families and

Fontaine are creditors entitled to recourse under TUFTA because the Jones Debtors engaged in

fraudulent transfers and conspired to commit fraudulent transfers."


Count lFraudulent Transfer with actual intent to hinder, delay, or defraud under §
24.0005(a)(1)

          39.    The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.




1°
     Janvey v. Golf Channel, Inc., 487 S.W.3d 560, 566 (Tex. 2016).
  Sargeant v. Al Saleh, 512 S.W.3d 399, 41112 (Tex. App.Corpus Chrisi-Edinburg 2016, no
11


pet.) (citing cases).
12
   See Tex. Bus. & Com. Code § 24.002 (deﬁning "creditor" as a person who has a "claim" and
"claim" as a right to payment including whether or not reduced to judgment, liquidated,
unliquidated, ﬁxed, contingent, matured, unmatured, disputed, or undisputed); see also Bank 0f
Am., N.A. v. Fulcrum Enterprises, LLC, 20 F. Supp. 3d 594, 601 (S.D. Tex. 2014) (explaining
that a person my bring a TUFTA action as a creditor of the transferor by virtue of a legal action,
pending and unliquidated at the time of transfer).


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           40.   The Jones Debtors are liable for engaging in fraudulent transfers as to present and

future creditors under § 24.0005(a)(l).'3 A transfer made or obligation incurred by a debtor is

fraudulent as to a creditor under this section if the debtor made the transfer or incurred the

obligation with the actual intent to hinder, delay, or defraud any creditor of the debtor." Such

transfers or obligations are fraudulent whether the creditor's claim arose before or within a

reasonable time aﬂer the transfers were made or obligations incurred."

           41.   The Jones Debtors engaged in fraudulent transfers under this standard. During the

Defamation Caseswhile the Sandy Hook Families and Fontaine were creditorsthe Jones

Debtors transferred millions of dollars from Free Speech Systems for reasons unrelated to Free

Speech Systems' business operations. ln 2021 alone, they transferred from Free Speech Systems

tens of millions more than it cost to operate that year. These transfers started just four months

after the last appellate-court decision was issued that allowed the Defamation Cases to proceed.

           42.   Transfers by the Jones Debtors while the Defamation Cases were pending also

include payments to insiders, like Jones himself. From 2018 to 2021, for example, Jones

apparently drew $18 million from Free Speech Systems, even though it was insolvent and

operating at a net loss each of those years. These draws were in addition to (and about 30 times

greater than) J ones's yearly salary.

           43.   And since the Defamation Cases began, the Jones Debtors also transferred large

sums to other insiders, like the Jones Transferees. These sums include money the Jones Debtors



13
   TeX. Bus. & Com. Code § 24.005(a)(l) ("(a) A transfer made or obligation incurred by a
debtor is fraudulent as to a creditor, whether the creditor's claim arose before or within a
reasonable time after the transfer was made or the obligation was incurred, if the debtor made the
transfer or incurred the obligation: (1) with actual intent to hinder, delay, or defraud any creditor
of the debtor;").
'4
     1d.
15
     1d.



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started regularly transferring from Free Speech Systems to insider PQPR the same month that

default judgments in the Defamation Cases were rendered. Speciﬁcally, PQPR started receiving

as much as $11,000 per day plus 6080%           of Free Speech Systems' sales revenue. These

payments are allegedly to pay just the interest on the questionable $54 million obligation to

PQPR the Jones Debtors decided that Free Speech incurred just three months after the appellate

court allowed the Defamation Cases to proceed.         All the while the Jones Debtors retained

possession and control of these money transfers and obligations, as the money PQPR receives

from Free Speech Systems goes directly and indirectly to insiders like Jones, his parents, and his

children through the shell entities included as Jones Transferees.

       44.     These transfers and obligations that the Jones Debtors made and incurred were

done with the actual intent to hinder, delay, or defraud their creditorsincluding the Sandy

Hook Families and Fontaine. That truth becomes especially glaring considering the badges of

fraud surrounding these transfers and obligations." Those badges include, for example, that the

transfers and obligations were made to insiders who retained possession and control over the

property; the transfers and obligations were concealed and made while the Defamation Cases

were pending and while the Jones Debtors were insolvent; and that past and future transfers to

PQPR will eliminate substantially all of the Jones Debtors' assetsas these essential assets paid


16
   Tex. Bus. & Com. Code § 24.005(b) ("(b) 1n determining actual intent under Subsection (a)(l)
of this section, consideration may be given, among other factors, to whether: (l) the transfer or
obligation was to an insider; (2) the debtor retained possession or control of the property
transferred after the transfer; (3) the transfer or obligation was concealed; (4) before the transfer
was made or obligation was incurred, the debtor had been sued or threatened with suit; (5) the
transfer was of substantially all the debtor's assets; (6) the debtor absconded; (7) the debtor
removed or concealed assets; (8) the value of the consideration received by the debtor was
reasonably equivalent to the value of the asset transferred or the amount of the obligation
incurred; (9) the debtor was insolvent or became insolvent shortly after the transfer was made or
the obligation was incurred; (10) the transfer occurred shortly before or shortly after a substantial
debt was incurred; and (l l) the debtor transferred the essential assets of the business to a lienor
who transferred the assets to an insider of the debtor.").



                                                 12
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to insider and supposed secured creditor PQPR will be subsequently transferred to insiders like


Jones, his parents, and his children through the Jones Transferees.

         45.    The Jones Debtors are thus liable under § 24.0005(a)(1) and the Sandy Hook

Families and Fontaine seek the remedies available under TUFTA against not only the Jones

Debtors as transferors but also Jones and the Jones Transferees as transferees. Among the

remedies the Sandy Hook Families and Fontaine seek is to void the transfers made by the Jones

Debtors to Jones and the Jones Transferees or to recover from Jones and the Jones Transferees

the value of the transfers they received from the Jones Debtors."


Count 2Fraudulent Transfer without receiving reasonably equivalent value under §
24.0005(a)(2)

         46.    The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.

         47.    The Jones Debtors are liable for engaging in fraudulent transfers as to present and

future creditors under § 24.0005(a)(2).18 A transfer made or obligation incurred by a debtor is

fraudulent as to a creditor under this section if the debtor made the transfer or incurred the

obligation Without receiving a reasonably equivalent value in exchange for the transfer or

obligation, and either (l) the debtor was engaged or was about to engage in a business or a

transaction for which the remaining assets of the debtor were unreasonably small in relation to


17
     Tex. Bus. & Com. Code § 24.008.
18
   Tex. Bus. & Com. Code § 24.005(a)(2) "(a) A transfer made or obligation incurred by a debtor
is fraudulent as to a creditor, whether the creditor's claim arose before or within a reasonable
time after the transfer was made or the obligation was incurred, if the debtor made the transfer or
incurred the obligation: . . (2) Without receiving a reasonably equivalent value in exchange for
                           .


the transfer or obligation, and the debtor (A) was engaged or was about to engage in a business
or a transaction for which the remaining assets of the debtor were unreasonably small in relation
to the business or the transaction; or (B) intended to incur, or believed or reasonably should have
believed that the debtor would incur, debts beyond the debtor's ability to pay as they became
due").


                                                 13
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the business or transaction; or (2) the debtor intended to incur, or believed or reasonably should

have believed that the debtor would incur, debts beyond the debtor's ability to pay as they

became due." Such transfers or obligations are fraudulent whether the creditor's claim arose

before or within a reasonable time after the transfers were made or obligations incurred."

           48.   Under these standards the Jones Debtors committed fraudulent transfers as to the

Sandy Hook Families and Fontaine. While the Defamation Cases were pendingthat is, While

the Sandy Hook Families and Fontaine were creditorsthe Jones Debtors transferred millions of

dollars from Free Speech Systems without receiving reasonably equivalent value in exchange,

and while the Jones Debtors' assets were unreasonably small. Moreover, the Jones Debtors

incurred millions of dollars in obligations they intended or reasonably should have believed they

would be unable to pay as they became due.

           49.   For instance, in 2021 the Jones Debtors transferred from Free Speech Systems

tens of millions more than it cost to operate the company. These transfers were unrelated to


operating the business and thus weren't in exchange for reasonably equivalent value. And these

transfers far exceeded Free Speech Systems' assetsand any of the Jones Debtors' for that

matterwhich were unreasonably small compared to the millions transferred away.

           50.   And from 2018 to 2021, the Jones Debtors also transferred from Free Speech

Systems to Jones about $18 million on top of the already substantial salary he received. Of

course these $18 million in draws weren't for reasonably equivalent value, especially given that

Free Speech Systems was operating at a loss at that time and allegedly had other substantial

debts to insider PQPR it hadn't been paying for years. And these $18 million in transfers




19
     1d.
2°
     1d.



                                                14
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Virtually eliminated Free Speech Systems' remaining assets, which were already unreasonably

small compared to the $18 million that had been transferred.

       51.     And around the time that default judgments were rendered against the Jones

Debtors in the Defamation Cases, the Jones Debtors incurred an obligation to insider PQPR to

pay only the interest on the supposed $54 million debt to PQPR that Free Speech Systems hadn't

been paying as it became due. Under this obligation to pay only the interest, Free Speech


Systems agreed to pay as much as $11,000 per day plus 6080% of its sales revenue. lncurring

such a hefty obligation to cover only the interest on an alleged debt to an insider is not for

reasonably equivalent value. And the Jones Debtors intended to incur or believed or reasonably

should have believed that Free Speech Systems was incurring, debts beyond its ability to pay as

they became due. After all, given that 100% of Free Speech Systems' sales revenue was already

too little to cover its operating expenditures, counting on only 2040% of sales revenue to cover

operating expenditures would be quixotic. The Jones Debtors knew or should have known their

new obligation to insider PQPRwhich is directly and indirectly run by and beneﬁts Jones, his

parents, and his children through the Jones Transfereesis beyond their ability to pay.

       52.     This of course rests against the backdrop of the dubious $54 million obligation

Free Speech Systems now claims it owes PQPR. Free Speech Systems apparently did not

recognize any obligation to PQPR before the Defamation Cases. Only aﬁer the appellate court

allowed the cases to proceed, did any evidence of an obligation by Free Speech Systems to

PQPR surface. That Free Speech Systems needlessly agreed to take on a $54 million obligation

to an insider is not an obligation in exchange for reasonably equivalent value. And it's an


obligation the Jones Debtors apparently intended to incur or believed or reasonably should have

believed they would incur and would be beyond their ability to pay as they became due.




                                               15
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           53.     The Jones Debtors are thus liable under § 24.0005(a)(2) and the Sandy Hook

Families and Fontaine seek the remedies available under TUFTA against not only the Jones

Debtors as transferors but also Jones and the Jones Transferees as transferees. Among the

remedies they seek is to void the transfers made by the Jones Debtors to Jones and the Jones

Transferees or to recover from Jones and the Jones Transferees the value of the transfers they

received from the Jones Debtors.21


Count 3Fraudulent Transfer without receiving reasonably equivalent value under §
24.0006(a)

           54.   The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.

           55.   The Jones Debtors are liable for engaging in fraudulent transfers as to present

creditors under § 24.0006(a .22 A transfer made or obligation incurred by a debtor is fraudulent

as to a creditor whose claim arose before the transfer was made or the obligation was incurred if

the debtor made the transfer or incurred the obligation without receiving a reasonably equivalent

value in exchange for the transfer or obligation and the debtor was insolvent at that time or the

debtor became insolvent as a result of the transfer or obligation."

           56.   The Jones Debtors also committed fraudulent transfers under this standard. While

the Sandy Hook Families and Fontaine were creditors and while the Jones Debtors were

insolvent, the Jones Debtors transferred millions of dollars without receiving reasonably



21
     Tex. Bus. & Com. Code § 24.008.
22
   Tex. Bus. & Com. Code § 24.006(a) ("(a) A transfer made or obligation incurred by a debtor is
fraudulent as to a creditor whose claim arose before the transfer was made or the obligation was
incurred if the debtor made the transfer or incurred the obligation without receiving a reasonably
equivalent value in exchange for the transfer or obligation and the debtor was insolvent at that
time or the debtor became insolvent as a result of the transfer or obligation").
23
     1d.



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         Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 21 of 94



equivalent value. These transfers include the tens of millions transferred from Free Speech

Systems in 2021 that were unrelated to its operation. They also include $18 million that Jones

drew from his business, Free Speech Systems. And they include the Jones Debtors' payments on

just the interest on an alleged $54 million debt Free Speech Systems owes insider PQPR

payments that include as much as $11,000 per day plus 6080% of Free Speech Systems' sales

revenue. As explained in prior sections, none of these transfers and obligations were in exchange

for reasonably equivalent value. And all were apparently made and incurred while the Jones

Debtors were insolventor they became insolvent as a result of these transfers and obligations.

         57.    The Jones Debtors are thus liable under § 24.0006(a) and the Sandy Hook

Families and Fontaine seek the remedies available under TUFTA against not only the Jones

Debtors as transferors but also Jones and the Jones Transferees as transferees. Among the

remedies they seek is to void the transfers made by the Jones Debtors to Jones and the Jones

Transferees or to recover from Jones and the Jones Transferees the value of the transfers they

received from the Jones Debtors."


Count 4Fraudulent Transfer without receiving reasonably equivalent value under §
24.0006(b)

         58.    The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.

         59.    The Jones Debtors are liable for engaging in fraudulent transfers as to present

creditors under § 24.0006(b).25 A transfer made by a debtor is fraudulent as to a creditor whose

claim arose before the transfer was made if the transfer was made to an insider for an antecedent

24
     Tex. Bus. & Com. Code § 24.008.
25
   Tex. Bus. & Com. Code § 24.006(b) ("(b) A transfer made by a debtor is fraudulent as to a
creditor whose claim arose before the transfer was made if the transfer was made to an insider
for an antecedent debt, the debtor was insolvent at that time, and the insider had reasonable cause
to believe that the debtor was insolvent").



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debt, the debtor was insolvent at that time, and the insider had reasonable cause to believe that

the debtor was insolvent."

           60.   The Jones Debtors engaged in fraudulent transfers under this standard. After the

Sandy Hook Families' and Fontaine's claims against the Jones Debtors arose, the Jones Debtors

started repaying an alleged debt to insider PQPR, which is owned directly and indirectly by

Jones, his parents, and his children through various entitiesthe Jones Transferees. Moreover,

income that PQPR receives from Free Speech Systems, for example, is directly and indirectly

paid to Jones, his parents, and his children though the Jones Transferees. The Jones Debtors

made these transfers to pay off this antecedent debt to insider PQPR directly (and Jones and the

Jones Transferees indirectly) while they were insolvent. And the Jones Transferees, including

PQPR, had reasonable cause to believe that the Jones Debtors were insolvent at the time. Aﬁer

all, the Jones Debtors allegedly failed to the pay the supposed debt to PQPR for years to the

point where the debt reached $54 million and exceeded the Jones Debtors' assets.

           61.   And to the extent that the $18 million Jones drew from Free Speech Systems

between 2018 and 2021 were payments for antecedent debts, such payments are also fraudulent

transfers under this section. These transfers were made after the Sandy Hook Families' and

Fontaine's claims against the Jones Debtors arose. As Free Speech Systems' sole owner, Jones

was its insider. And as its sole owner, Jones had reasonable cause to believe that Free Speech

Systems was insolventand in fact was insolventwhen these transfers to him were made.

           62.   The Jones Debtors are thus liable under § 24.0006(b) and the Sandy Hook

Families and Fontaine seek the remedies available under TUFTA against not only the Jones

Debtors as transferors but also Jones and the Jones Transferees as transferees. Among the

remedies they seek is to void the transfers made by the Jones Debtors to Jones and the Jones

26
     1d.



                                                18
         Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 23 of 94



Transferees or to recover from Jones and the Jones Transferees the value of the transfers they

received from the Jones Debtors."


Count 5Conspiracy to commit fraudulent transfers

          63.      The Sandy Hook Families and Fontaine reallege and incorporate by reference the

prior facts alleged in this pleading.

          64.      The Jones Debtors and the Jones Transferees are liable for conspiracy to commit

fraudulent transfers." The elements of a civil conspiracy are: (l) two or more persons; (2) an end

to be accomplished; (3) meeting of the minds on the end or course of action; (4) one or more

overt unlawful acts; and (5) proximately resulting in injury."

          65.      Here, the Jones Debtors and the Jones Transferees conspired to commit fraudulent

transfers.      As the prior paragraphs establish, the Jones Debtors and the Jones Transferees

conspired to siphon the Jones Debtors' assets away to avoid paying the Sandy Hook Families

and Fontaine in the Defamation Cases. The Jones Debtors and the Jones Transferees then

proceeded with the course of action of transferring millions of dollars in assets away from the

Jones Debtors and having the Jones Debtors incur millions of dollars in obligations to its insider

Jones Transferees, who weren't sued in the Defamation Cases. These overt acts are unlawful

fraudulent transfers under TUFTA. And they proximately resulted in injury to the Sandy Hook

Families and Fontaine. Diverting assets away from the Jones Debtors to the Jones Transferees

impairs the Sandy Hook Families' and Fontaine's ability to collect on their judgments.




27
     Tex. Bus. & Com. Code § 24.008.
28
   In re Northstar Ofﬁshore Grp., LLC, 616 B.R. 695, 743 (Bankr. S.D. Tex. 2020) (citing
Ramirez v. Rodriguez (In re Ramirez), 413 B.R. 621, 629 (Bankr. S.D. Tex. 2009) and Biliouris
v. Sundance Res., Inc., 559 F. Supp. 2d 733, 740 (N.D. Tex. 2008)).
29
     Id. at 74344.



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                                        Conditions Precedent

          66.      A11 conditions precedent to the Sandy Hook Families' and Fontaine's claims for


relief have been performed or have occurred or have been waived.


                                    Attorney's Fees and Interest
          67.      The Sandy Hook Families and Fontaine seek costs and attomey's fees under §

24.013 of the Texas Uniform Fraudulent Transfer Act."

          68.      The Sandy Hook Families and Fontaine further seek pre- and post-judgment

interest on the amount of any judgment as allowed by law.


                                        Request for Disclosure

          69.      Defendants are requested to disclose, Within 50 days of the service of this request,

the information or material described in Texas Rule of Civil Procedure 194.2.


                                             Trial by Jury
          70.      The Sandy Hook Families and Fontaine respectfully request a trial by jury.


                                            Notice of Intent

          71.      Under Rule 193.7, Plaintiffs intend to use any documents produced in

response to written discovery requests at trial and in any pretrial matters in the litigation."

                                                 Prayer

          For these reasons, Plaintiffs respectfully request that Defendants be cited to appear and

answer and that judgment be awarded to Plaintiffs for the following:

          1) avoidance of transfers or obligations to the extent necessary to satisfy Plaintiffs'
                claims;


3°
     Tex. Bus. & Com. Code § 24.013.
31
     Tex. R. CiV. P. 193.7.


                                                    20
      Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 25 of 94



       2) an attachment or any other provisional remedy against the assets transferred or other
          property of the transferee in accordance with the applicable Texas Rules of Civil
          Procedure and the Civil Practice and Remedies Code relating to ancillary
          proceedings;

       3) an injunctionincluding temporary and permanent injunctive reliefagainst further
          disposition by the debtors or transferees, or both, of the assets transferred or of other
          property;

       4) an appointment of a receiver to take charge of the assets transferred or of other
          property of the transferees;

       5) to levy execution on assets transferred or their proceeds;

       6) actual damages, including direct, indirect, special, incidental, and consequential
          damages;

       7) exemplary damages;

       8) costs and reasonably attorney's fees as are equitable and just;

       9) pre- and post-judgment interest;

       10) any other relief the circumstances may require.

Dated: April 6, 2022

                                             Respectfully submitted


                                             MCDOWELL HETHERINGTON LLP


                                             By: /s/ Avi Moshenberg
                                                 Avi Moshenberg
                                                 Texas Bar No. 24083532
                                                 Nick Lawson
                                                 State Bar No. 24083367
                                                 Matthew Caldwell
                                                 State Bar No. 24107722
                                                 1001 Fannin Street, Suite 2700
                                                 Houston, TX 77002
                                                 Phone: (713) 337-5580
                                                 Fax: (713) 337-8850
                                                 Email: avi.moshenberg@mhllp.com
                                                 Email: nick.lawson@mhllp.com
                                                 Email: matthew.caldwell@mhllp.com



                                               21
Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 26 of 94




                              KASTER LYNCH FARRAR & BALL, LLP

                              By: /s/ Mark D. Bankston
                                 Mark D. Bankston
                                 State Bar No. 24071066
                                 William R. Ogden
                                 State Bar No. 24073531
                                 1117 Herkimer
                                 Houston, Texas 77008
                                 (713) 221-8300 Telephone
                                 (713) 221-8301 Fax
                                 Email: mark@fbtrial.com
                                 Email: bill@fbtrial.com


                              THE AKERS FIRM PLLC


                              By: /s/ CordtAkers
                                 Cordt Akers
                                 State Bar No. 24080122
                                 3401 Allen Parkway, Suite 101
                                 Houston, TX 77019
                                 Phone: (713) 877-2500
                                 Fax: (713) 583-8662
                                 Email: cca@akersﬁrm.com


                              ATTORNEYS FOR PLAINTIFFS




                                22
        Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 27 of 94
                                                                                      Filed in The
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                                                                                       of Traws
                                                                                                 County,     Tecfagrt
                                                                                    AR     APR 19 2022
                                                                                     At      3? 30
                                                                                     Velva L. Price,
                                                                                                       District Clem.

                                   MAYA GUERRA GAMBLE
                               Judge, 459'" District Court
                Heman Marion Sweatt Travis County Courthouse P.O. Box 1748
                                   Austin, Texas 78767
                                            512-854-9384



  April 19,2022

  Avi Moshenberg                                        F. Andino Reyna]
  1001 Fannin St, Ste 2700                              PO Box 61129
  Houston, TX 77002                                     Houston, TX 77208
  avi.moshenberg@mhllp.com                              areynal@frlaw.us

  Mark Bankston
                                                        Joseph Magliolo Jr
  1 1 17 Herkimer
                                                        917 Franklin St, Ste 600
 Houston, TX 77008                                      Houston, TX 77002
 mark@fbtrial.com                                       magliolo@frlaw.us

 Cordt Akers
 3401 Allen Parkway, Ste 101
 Houston, TX 77019
 cca@akersﬁrm.com


       RE: Case No. D-l-GN-22001610; Neil Heslin, Scarlett Lewis, Leonard Pozner,
       Veronique de la Rosa, and Marcel Fontaine v Alex E Jones, Infowars LLC Free Speech
       Systems LLC, PQPR Holdings Limited LLC, JLJR Holdings LLC, PLJR
                                                                            Holdings LLC,
       Carol Jones, David Jones, PQPR Holding LLC, JLJR
                                                            Holdings Limited LLC, Ali]
       Holdings LLC, AEJ Trust 2018; in the 200th Judicial District, Travis County, Texas

Dear Counsel:

       This case is now assigned to me pursuant to Travis
                                                              County Local Rule 2.6. All matters,
including agreed motions and orders, as well as any ﬁnal proceedings, shall be heard and
considered by this Court only. If you need to set a
                                                      hearing, please confer with each other and
then contact my Judicial Executive Assistant, Shannon
                                                          Matusek-Steele, at (512) 854-93 84.
       Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 28 of 94



        Please remember that you must deliver all
                                                     pleadings directly to the 45 9th as well as ﬁle
 them with the District Clerk. I will not receive them
                                                       automatically. You may email them to Ms.
 Matusek-Steele and we will also create a Box drive folder in advance of
                                                                           any hearings. The Court
 requires hard copies of any ﬁlings larger than 15 pages be delivered to the District
                                                                                      Judges Ofﬁce,
Room 327.


        Counsel must attempt to agree on a brieﬁng schedule,
                                                                     including hearing dates, which
should be provided to the Court within 60 days of the date of this letter. If the
                                                                                    parties cannot agree
to the schedule, please contact the court's Judicial Executive
                                                                 Assistant, Shannon Matusek-Steele
at (512) 854-9384. Additionally, please coordinate with Ms. Matusek-Steele for
                                                                                        dates and times
of any hearings that you may need to set.


        For any setting, you must announce in compliance with Chapter 3 of the Local Rules of
the District Courts of Travis County and the most recent Travis
                                                                    County Civil and Family Courts
Emergency Order. I look forward to working with you on this case.


                                              Very Truly Yours,




                                              Wt,     gag"
                                              Maya Guerra Gamble
                                              Judge, 459th District Court


MGG/sms
cc: Velva Price, District Clerk
     OF
            7-4,

                               Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 29 of 94
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                                                                                                                             5/5/2022 12:08 PM
     1..-     J,                                                                                                                 Velva L. Price
                .+
1'sopx                       VELVA L. PRICE                                                                                      District Clerk
                          District Clerk, Travis County                                                                         TraVIS County
                          Civil Division (512) 854-9457                                                                      D-1-GN-22-001610
                                                                                                                                 Chloe Jimenez
                                                                   Process Request Form

                     CASE NUMBER: D-1-GN-22-001610       COUCOURT: 200
                     NAME(S) OF DOCUMENTS TO BE SERVED: Plaintiff's Original Petition

                     FILE DATE: 04/06/22
                                         Day/Month/ Year


       SERVICE TO BE ISSUED ON: (Please List Exactly As The Name Appears In The Pleading To Be Served- Additional Parties on page 2)

                          Issue Service to: InfoWars, "-0
                     1



                          Address of Service: 1100 Guadalupe Street

                          City, State & Zip: Austin, Texas 78701
                          Agent: (ifapplicable) JOh" 0- Carsey
                     TYPE OF SERVICE/PROCESS TO BE ISSUED:

                         Citation   I]
                                     Citation by Posting |:| Citations Rule 106 Service     I]
                                                                                             Hague Convention Citation
                   |:| Secretary of State/ Highway Commission/Commissioner    of Insurance Citation
                   I]  Citation by Publication: Newspaper
                   [:I Show Cause        I][I
                                          Notice     Temporary Restraining Order       I]
                                                                                        Temporary Protective Order
                   I] Capias I] Attachment I] Habeas Corpus
                   El Subpoena El Garnishment l:l Injunction            l:lSequestration    l:l Abstract l:l Execution
                   El Other (Please Describe)

        SERVICE BY (check one):
          Q ATTORNEY/REQUESTER: (Email) Avi Moshenberg
          O PROCESS SERVER: (Email)
                0
            PICK UP: (Person/Agency Name and Phone Number)
                0
            TRAVIS COUNTY CONSTABLE: Please select PCT ifyou have apreference               0 02 O O Q
                                                                                                 1       3       4   5

          O CERTIFIED MAIL
          O OTHER, explain:




       Requested by:
           Name: Avi Moshenberg
                     Mailing Address: 1001 Fannin St., Suite 2700
                     City, state, Zip: Houston, Texas 77002
                     Phone Number: 713-337-5530
                     E-mail Address: avi.moshenberg@mh||p.oom


                     Notes/Comments to the clerk: Please include ana.sanchez@mh|lp.com to receive e-citations.
                 Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 30 of 94




                                        Civil Process Request Form Additional Parties
                                                                      -




SERVICE TO BE ISSUED ON: (Please List Exactly As The Name Appears In The Pleading To Be Served)

       2.
            Issue Service to:        Free Speech Systems, LLC
            Address of Service.        1100 Guadalupe Street

            City, State & Zip: AUStint
                                             TX 78701
            Agent: (if applicable)
                                      John C. Carsey

      3.
            Issue Service to:        PQPR Holdings Limited, LLC
            Address Of Service:        401 Ryland Street, suite ZOO-A

            City, State & Zip:        Reno, NV 89502
                                                          Inc.
            Agent: (ii'applicable) Registered Agents,


      4'
            Issue Service to:    JLJR Holdings
            Address of Service:        401 Ryland Street, Suite 200-A

            City, State & Zip:        R900, NV 89502
                                                          Inc.
            Agent: (ifapplicable) Registered Agents,


      5.
            Issue Service to:    PLJR Holdings, LLC
            Address of Service: 401 Ryland Street, Suite 200-A

            City, State & Zip:        Reno! NV 89502
                                                          Inc.
            Agent, (,fapplicable) Registered Agents,


      6-
            Issue Service to:    Carol Jones
            Address of Service:        3402 Clawson Road

            City, State & Zip: Austin,
                                             TX 78704, or whenever she can be found.
            Agent: (if applicable)



            Issue Service to:        DaVld Jones

            Address of Service:        3402 Clawson Road

            City, State & Zip: Austin,
                                             TX 78704, or whenever he can be found.
            Agent: (if applicable)
       Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 31 of 94
                                                                                               5/17/2022 8:04 AM
                                                                                                   Velva L. Price
                                                                                                   District Clerk
                                                                                                  Travis County
                                  A    E N   .   D-1- N-22-      1   1                         D-1-GN-22-001610
                                                                                                Adrian Rodriguez
NEIL HESLIN, ET AL




                                                    §§§§§§§§§§
PLAINTIFF

VS.                                                                       IN THE 200th District Court

ALEX E. JONES, ET AL                                                           TRAVIS COUNTY, TX
DEFENDANT




                                       RETURN OF SERVICE

ON Thursday, May 12, 2022 AT 4:28 PM
CITATION, PLAINTIFFS' ORIGINAL PETITION for service on FREE SPEECH SYSTEMS LLC C/O
REGISTERED AGENT JOHN C CARSEY came to hand.

0N Monday, May 16, 2022 AT 4:35 PM, I, Adriana Nicole Adam, PERSONALLY DELIVERED
THE ABOVE-NAMED DOCUMENTS TO: FREE SPEECH SYSTEMS LLC C/O REGISTERED AGENT
JOHN C CARSEY, 1100 GUADALUPE STREET, AUSTIN, TRAVIS COUNTY, TX 78701.

My name is Adriana Nicole Adam. My address is 1201 Louisiana, Suite 370, Houston, TX 77002. I
am a private process server certified by the Texas Judicial Branch Certification Commission (PSC
17714, expires 10/31/2023). My e-mail address is info@easy-serve.com. My date of birth is
3/30/1992. I am in all ways competent to make this statement, and this statement is based on
personal knowledge. I am not a party to this case and have no interest in its outcome. I declare
under penalty of perjury that the foregoing is true and correct.

Executed in TRAVIS COUNTY, TX on Monday, May 16, 2022.

/S/ Adriana Nicole Adam




4169.0002

Doc ID: 296621_3
             Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 32 of 94
                                                      CITATION
                                              THE STATE OF TEXAS
                                              CAUSE NO. D-1-GN-22-001610
NEIL HESLIN; SCARLETT LEWIS; LEONARD POZNER; VERONIQUE DE LA ROSA;                                           ,   PLAINTIFF(S)
MARCEL FONTAINE
      VS.
ALEX E JONES; INFOWARS LLC; FREE SPEECH SYSTEMS LLC; PQPR HOLDINGS                                           ,   DEFENDANT(S)
LIMITED LLC; PLJR HOLDINGS, LLC; CAROL JONES; PQPR Holdings, LLC; AEJ
Holdings, LLC; AEJ Trust 2018; DAVID JONES; JLJR HOLDINGS LLC

TO:         FREE SPEECH SYSTEMS LLC
            BY SERVING ITS REGISTERED AGENT JOHN C CARSEY
            1100 GUADALUPE STREET
            AUSTIN TX 78701

Defendant, in the above styled and numbered cause:
YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not ﬁle a written answer
with the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty
days after you were served this citation and petition, a default judgment may be taken against you. In
addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other
parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your
answer with the clerk. Find out more at TexasLawHeIp.org."

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION in the above styled and numbered cause, which was
ﬁled on April 06, 2022 in the 200th District Court of Travis County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at ofﬁce, Ma¥12,2022

REQUESTED BY:
MOSHENBERG, AVISHAY
1001 FANNIN STREET, SUITE 2700
HOUSTON TX 77°023
                                                                          V.       Velva L. Price
                                                                                             unty
                                                                                    ra'UlS Dun
                                                                                                           Clerk
                                                                                                                 DUSB
                                                                                                     [Blistricl'It
                                                                                                       DUI"
PHON E: (713) 337-5580                                                             1IJIJIJ GuadaItI/pe, PJJ. Box 679003 (737's?)
FAX: (713) 337-8850                                                                Austin: TX 73m

                                                                                   PREPARED BY: Chloe Jimenez
                                                          RETU RN
Came to hand on the              day of                    ,             at                o'clock   _M., and executed at
                                                                       within the County of                                        on
the            day of                     ,        , at              o'clock         M., by delivering to the within named
                                                                               ,   each in person, a true copy of this citation
together with the PLAINTIFFS ORIGINAL PETITION accompanying pleading, having ﬁrst attached such copy of
such citation to such copy of pleading and endorsed on such copy of citation the date of delivery.

Service Fee: $
                                                               Sheriff/ Constable / Authorized Person
Sworn to and subscribed before me this the
                                                               By:
            day of                    ,


                                                               Printed Name of Server


                                                                                                             County, Texas
Notary Public, THE STATE OF TEXAS
              D-1-GN-22-001610                             SERVICE FE NOT PAID
       Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 33 of 94
                                                                                             5/17/2022 11:34 AM
                                                                                                  Velva L. Price
                                                                                                  District Clerk
                                                                                                 Travis County
                                  A    E N   .   D-1- "22-      1   1                        D-1-GN-22-001610
                                                                                              Alexus Rodriguez
NEIL HESLIN, ET AL




                                                    §§§§§§§§§§
PLAINTIFF

VS.                                                                      IN THE 200th District Court

ALEX E. JONES, ET AL                                                          TRAVIS COUNTY, TX
DEFENDANT




                                      RETURN OF SERVICE

ON Thursday, May 12, 2022 AT 4:29 PM
CITATION, PLAINTIFFS' ORIGINAL PETITION for service on JLJR HOLDINGS LLC C/O REGISTERED
AGENT: REGISTERED AGENTS, INC. came to hand.

0N Monday, May 16, 2022 AT 2:25 PM, I, William Ryan Love, PERSONALLY DELIVERED THE
ABOVE-NAMED DOCUMENTS TO: JLJR HOLDINGS LLC C/O REGISTERED AGENT: REGISTERED
AGENTS, INC., by delivering to ILLINA O., Authorized Representative, 401 RYLAND STREET #ZOOA,
RENO, WASHOE COUNTY, NV 89502.

My name is William Ryan Love. My address is PO BOX 11293, RENO, NV 89510. My date of birth is
4/30/1990. I am in all ways competent to make this statement, and this statement is based on
personal knowledge. I am not a party to this case and have no interest in its outcome. I declare
under penalty of perjury that the foregoing is true and correct.

Executed in WASHOE COUNTY, NV on Monday, May 16, 2022 AT 2:25 PM.

/S/ William Ryan Love




4169.0002

Doc ID: 296621_5
             Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 34 of 94
                                                      CITATION
                                              THE STATE OF TEXAS
                                              CAUSE NO. D-1-GN-22-001610
NEIL HESLIN; SCARLETT LEWIS; LEONARD POZNER; VERONIQUE DE LA ROSA;                                           ,   PLAINTIFF(S)
MARCEL FONTAINE
      VS.
ALEX E JONES; INFOWARS LLC; FREE SPEECH SYSTEMS LLC; PQPR HOLDINGS                                           ,   DEFENDANT(S)
LIMITED LLC; PLJR HOLDINGS, LLC; CAROL JONES; PQPR Holdings, LLC; AEJ
Holdings, LLC; AEJ Trust 2018; DAVID JONES; JLJR HOLDINGS LLC

TO:         JLJR HOLDINGS LLC
            BY SERVING ITS REGISTERED AGENT: REGISTERED AGENTS, INC.
            401 RYLAND STREET #200-A
            RENO NV 89502

Defendant, in the above styled and numbered cause:
YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not ﬁle a written answer
with the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty
days after you were served this citation and petition, a default judgment may be taken against you. In
addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other
parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your
answer with the clerk. Find out more at TexasLawHeIp.org."

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION in the above styled and numbered cause, which was
ﬁled on April 06, 2022 in the 200th District Court of Travis County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at ofﬁce, Ma¥12,2022

REQUESTED BY:
MOSHENBERG, AVISHAY
1001 FANNIN STREET, SUITE 2700
HOUSTON TX 77°023
                                                                          V.       Velva L. Price
                                                                                             unty
                                                                                    ra'UlS Dun
                                                                                                           Clerk
                                                                                                                 DUSB
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PHON E: (713) 337-5580                                                             1IJIJIJ GuadaItI/pe, PJJ. Box 679003 (737's?)
FAX: (713) 337-8850                                                                Austin: TX 73m

                                                                                   PREPARED BY: Chloe Jimenez
                                                          RETU RN
Came to hand on the              day of                    ,             at                o'clock   _M., and executed at
                                                                       within the County of                                        on
the            day of                     ,        , at              o'clock         M., by delivering to the within named
                                                                               ,   each in person, a true copy of this citation
together with the PLAINTIFFS ORIGINAL PETITION accompanying pleading, having ﬁrst attached such copy of
such citation to such copy of pleading and endorsed on such copy of citation the date of delivery.

Service Fee: $
                                                               Sheriff/ Constable / Authorized Person
Sworn to and subscribed before me this the
                                                               By:
            day of                    ,


                                                               Printed Name of Server


                                                                                                             County, Texas
Notary Public, THE STATE OF TEXAS
              D-1-GN-22-001610                             SERVICE FEE NOT PAID
       Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 35 of 94
                                                                                             5/17/2022 11:34 AM
                                                                                                  Velva L. Price
                                                                                                  District Clerk
                                                                                                 Travis County
                                  A    E N   .   D-1- "-22-      1   1                       D-1-GN-22-001610
                                                                                              Alexus Rodriguez
NEIL HESLIN, ET AL




                                                    §§§§§§§§§§
PLAINTIFF

VS.                                                                      IN THE 200th District Court

ALEX E. JONES, ET AL                                                          TRAVIS COUNTY, TX
DEFENDANT




                                      RETURN OF SERVICE

ON Thursday, May 12, 2022 AT 4:29 PM
CITATION, PLAINTIFFS' ORIGINAL PETITION for service on PLJR HOLDINGS, LLC C/O REGISTERED
AGENT REGISTERED AGENTS INC came to hand.

0N Monday, May 16, 2022 AT 2:24 PM, I, William Ryan Love, PERSONALLY DELIVERED THE
ABOVE-NAMED DOCUMENTS TO: PUR HOLDINGS, LLC C/O REGISTERED AGENT REGISTERED
AGENTS INC, by delivering to ILLINA O. , Authorized Representative, 401 RYLAND STREET SUITE 200
A, RENO, WASHOE COUNTY, NV 89502.

My name is William Ryan Love. My address is PO BOX 11293, RENO, NV 89510. My date of birth is
4/30/1990. I am in all ways competent to make this statement, and this statement is based on
personal knowledge. I am not a party to this case and have no interest in its outcome. I declare
under penalty of perjury that the foregoing is true and correct.

Executed in WASHOE COUNTY, NV on Monday, May 16, 2022 AT 2:24 PM.

/S/ William Ryan Love




4169.0002

Doc ID: 296621_6
             Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 36 of 94
                                                        CITATION
                                              THE STATE OF TEXAS
                                              CAUSE NO. D-1-GN-22-001610
NEIL HESLIN; SCARLETT LEWIS; LEONARD POZNER; VERONIQUE DE LA ROSA;
MARCEL FONTAINE                                                                                             ,       PLAINTIFF(S)
      VS.

ALEX E JONES; INFOWARS LLC; FREE SPEECH SYSTEMS LLC; PQPR HOLDINGS
LIMITED LLC; PLJR HOLDINGS, LLC; CAROL JONES; PQPR Holdings, LLC; AEJ                                       ,       DEFENDANT(S)
Holdings, LLC; AEJ Trust 2018; DAVID JONES; JLJR HOLDINGS LLC

TO:         PLJR HOLDINGS, LLC
            BY SERVING ITS REGISTERED AGENT REGISTERED AGENTS INC
            401 RYLAND STREET SUITE 200-A
            RENO NV 89502

Defendant, in the above styled and numbered cause:
YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not ﬁle a written answer
with the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty
days after you were served this citation and petition, a default judgment may be taken against you. In
addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other
parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your
answer with the clerk. Find out more at TexasLawHelp.org."

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION in the above styled and numbered cause, which was
ﬁled on April 06, 2022 in the 200th District Court of Travis County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at ofﬁce, Ma¥12l2022


REQUESTED BY:
MOSHENBERG, AVISHAY                                                                    ¢_.:ﬂl  an
                                                                                         _,_.''1
                                                                            "Valve
                                                                            Uﬁi
                                                                                                                7




1001 FANNIN STREET, SUITE 2700                                                         L. Price
                                                                                Travis          District Clerk
                                                                                            Bounty
HOUSTON, TX 77002                                                                    Travis County Courthouse
PHONE: (713) 337-5580                                                                1000 Guadalupe, P ..u Box 579003 (73757)
FAx: (713) 337-8850                                                                  ""8""! TX 73701

                                                                                     PREPARED BY: Chloe Jimenez
                                                            RETU RN
Came to hand on the              day of                      ,             at               o'clock   _M., and executed at
                                                                         within the County of                                      on
the            day of                     ,        ,   at              o'clock        M., by delivering to the within named
                                                                                 ,   each in person, a true copy of this citation
together with the PLAINTIFFS ORIGINAL PETITION accompanying pleading, having ﬁrst attached such copy of
such citation to such copy of pleading and endorsed on such copy of citation the date of delivery.

Service Fee: $
                                                                 Sheriff/ Constable / Authorized Person
Sworn to and subscribed before me this the
                                                                 By:
            day of                    ,


                                                                 Printed Name of Server


                                                                                                            County, Texas
Notary Public, THE STATE OF TEXAS
              D-1-GN-22-001610                               SERVICE FEE NOT PAID
       Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 37 of 94
                                                                                                 5/17/2022 11:34 AM
                                                                                                      Velva L. Price
                                                                                                      District Clerk
                                                                                                     Travis County
                                  A    E N   .   D-1        "-22-   1   1                        D-1-GN-22-901610
                                                                                                      Chloe Jimenez
NEIL HESLIN, ET AL




                                                    §§§§§§§§§§
PLAINTIFF

VS.                                                                          IN THE 200th District Court

ALEX E. JONES, ET AL                                                             TRAVIS COUNTY, TX
DEFENDANT




                                      RETURN OF SERVICE

ON Thursday, May 12, 2022 AT 4:31 PM
CITATION, PLAINTIFFS' ORIGINAL PETITION for service on PQPR HOLDINGS LIMITED LLC C/O
REGISTERED AGENT: REGISTERED AGENTS, INC. came to hand.

0N Monday, May 16, 2022 AT 2:22 PM, I, William Ryan Love, PERSONALLY DELIVERED THE
ABOVE-NAMED DOCUMENTS TO: PQPR HOLDINGS LIMITED LLC C/O REGISTERED AGENT:
REGISTERED AGENTS, INC., by delivering to ILLINA O., Authorized Representative, 401 RYLAND
STREET #200A, RENO, WASHOE COUNTY, NV 89502.

My name is William Ryan Love. My address is PO BOX 11293, RENO, NV 89510. My date of birth is
4/30/1990. I am in all ways competent to make this statement, and this statement is based on
personal knowledge. I am not a party to this case and have no interest in its outcome. I declare
under penalty of perjury that the foregoing is true and correct.

Executed in WASHOE COUNTY, NV on Monday, May 16, 2022 AT 2:22 PM.

/S/ William Ryan Love




4169.0002

Doc ID: 296621_7
             Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 38 of 94
                                                        CITATION
                                              THE STATE OF TEXAS
                                              CAUSE NO. D-1-GN-22-001610
NEIL HESLIN; SCARLETT LEWIS; LEONARD POZNER; VERONIQUE DE LA ROSA;
MARCEL FONTAINE                                                                                             ,       PLAINTIFF(S)
      VS.

ALEX E JONES; INFOWARS LLC; FREE SPEECH SYSTEMS LLC; PQPR HOLDINGS
LIMITED LLC; PLJR HOLDINGS, LLC; CAROL JONES; PQPR Holdings, LLC; AEJ                                       ,       DEFENDANT(S)
Holdings, LLC; AEJ Trust 2018; DAVID JONES; JLJR HOLDINGS LLC

TO:         PQPR HOLDINGS LIMITED LLC
            BY SERVINGITS REGISTERED AGENT: REGISTERED AGENTS, INC.
            401 RYLAND STREET #200-A
            RENO NV 89502

Defendant, in the above styled and numbered cause:
YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not ﬁle a written answer
with the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty
days after you were served this citation and petition, a default judgment may be taken against you. In
addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other
parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your
answer with the clerk. Find out more at TexasLawHelp.org."

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION in the above styled and numbered cause, which was
ﬁled on April 06, 2022 in the 200th District Court of Travis County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at ofﬁce, Ma¥12l2022


REQUESTED BY:
MOSHENBERG, AVISHAY                                                                    ¢_.:ﬂl  an
                                                                                         _,_.''1
                                                                            "Valve
                                                                            Uﬁi
                                                                                                                7




1001 FANNIN STREET, SUITE 2700                                                         L. Price
                                                                                Travis          District Clerk
                                                                                            Bounty
HOUSTON, TX 77002                                                                    Travis County Courthouse
PHONE: (713) 337-5580                                                                1000 Guadalupe, P ..u Box 579003 (73757)
FAx: (713) 337-8850                                                                  ""8""! TX 73701

                                                                                     PREPARED BY: Chloe Jimenez
                                                            RETU RN
Came to hand on the              day of                      ,             at               o'clock   _M., and executed at
                                                                         within the County of                                      on
the            day of                     ,        ,   at              o'clock        M., by delivering to the within named
                                                                                 ,   each in person, a true copy of this citation
together with the PLAINTIFFS ORIGINAL PETITION accompanying pleading, having ﬁrst attached such copy of
such citation to such copy of pleading and endorsed on such copy of citation the date of delivery.

Service Fee: $
                                                                 Sheriff/ Constable / Authorized Person
Sworn to and subscribed before me this the
                                                                 By:
            day of                    ,


                                                                 Printed Name of Server


                                                                                                            County, Texas
Notary Public, THE STATE OF TEXAS
              D-1-GN-22-001610                               SERVICE FEE NOT PAID
      Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 39 of 94
                                                                                              5/18/2022 7:01 PM
                                                                                                  Velva L. Price
                                                                                                  District Clerk
                                                                                                 Travis County
                                CAUSE N0. D-1-GN-22-001610                                    0-1-GN-22-001610
                                                                                              Alexus Rodriguez
NEIL HESLIN, SCARLETT LEWIS,                                          IN THE DISTRICT COURT




                                                §§§§§§§§§§§§§§§§§§§
LEONARD POZNER, VERONIQUE
DE LA ROSA, MARCEL FONTAINE,

               Plaintiffs,

v.

ALEX E. JONES, INFOWARS, LLC,                                         TRAVIS COUNTY, TEXAS
FREE SPEECH SYSTEMS, LLC,
PQPR HOLDINGS LIMITED LLC,
JLJR HOLDINGS, LLC, PLJR
HOLDINGS, LLC, CAROL JONES,
DAVID JONES, PQPR HOLDINGS,
LLC, JLJR HOLDINGS LIMITED,
LLC, AEJ HOLDINGS, LLC, AEJ
TRUST 2018,
               Defendants.                                             200th DISTRICT COURT



                         NOTICE OF NONSUIT WITH PREJUDICE

       Plaintiffs Neil Heslin, Scarlett Lewis, Leondard Pozner, Veronique De La Rosa, and

Marcel Fontaine hereby give notice to the Court and all parties that Plaintiffs no longer desire to

prosecute their claims against Defendant InfoWars, LLC (now InfoW, LLC). As such, Plaintiff

hereby nonsuits all claims asserted in this case against Defendant InfoW, LLC with prejudice.

This nonsuit applies to Defendant InfoW, LLC only as Plaintiffs continue to assert their claims

against the remaining Defendants.
      Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 40 of 94




Dated: May 18, 2022                       Respectfully submitted

                                          MCDOWELL HETHERINGTON LLP
                                          ﬂy: /s/ Avi Moshenberg
                                          Avi Moshenberg
                                          Texas Bar No. 24083532
                                          Nick Lawson
                                          State Bar No. 24083367
                                          Matthew Caldwell
                                          State Bar No. 24107722
                                          1001 Fannin Street, Suite 2700
                                          Houston, TX 77002
                                          Phone: (713) 337-5580
                                          Fax: (713) 337-8850
                                          Email: avi.moshenberg@mhllp.com
                                          Email: nick.lawson@mhllp.com
                                          Email: matthew.caldwell@mhllp.com

                                          KASTER LYNCH FARRAR & BALL,
                                          LLP
                                          Bv: /s/ Mark D. Bankston
                                          Mark D. Bankston
                                          State Bar No. 24071066
                                          William R. Ogden
                                          State Bar No. 24073531
                                          1117 Herkimer
                                          Houston, Texas 77008
                                          (713) 221 -83OO Telephone
                                          (713) 221-8301 Fax
                                          Email: mark@fbtrial.com
                                          Email: bill@fbtrial.com

                                          THE AKERS FIRM PLLC
                                          Bv: /s/ Cord! Akers
                                          Cordt Akers
                                          State Bar No. 24080122
                                          3401 Allen Parkway, Suite 101
                                          Houston, TX 77019
                                          Phone: (713) 877-2500
                                          Fax: (713) 583-8662
                                          Email: cca@akersﬁrm.com
                                          ATTORNEYS FOR PLAINTIFFS




                                      2
      Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 41 of 94




                               CERTIFICATE OF SERVICE
       1
         hereby certify that on May 18, 2022, the forgoing document was served upon all
counsel of record Via electronic service.

                                                   /s/ A vi Moshenbergr
          Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 42 of 94

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Patricia Flores on behalf of Avishay Moshenberg
Bar No. 24083532
patricia.flores@mhllp.com
Envelope lD: 64645557
Status as of 5/19/2022 9:56 AM CST

Associated Case Party: NEIL HESLIN

Name                  BarNumber       Email                        TimestampSubmitted      Status
Nicholas Lawson                       nick.lawson@mhllp.com        5/18/2022 7:01 :25 PM   SENT
Avishay Moshenberg                    avi.moshenberg@mhllp.com     5/18/2022 7:01:25 PM    SENT
Matthew Caldwell                      matthew.ca|dwell@mhllp.com   5/18/2022 7:01:25 PM    SENT


Case Contacts

Name              BarNumber   Email                 TimestampSubmitted     Status
Mark Bankston     24071066    mark@fbtrial.com      5/18/2022 7:01:25 PM   SENT
Cordt Akers       24080122    cca@akersfirm.com     5/18/2022 7:01:25 PM   SENT
       Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 43 of 94
                                                                                         6/3/2022 4:55 PM
                                                                                            Velva L. Price
                                                                                            District Clerk
                                                                                           Travis County
                                CAUSE NO. D 1 GN 22 001610
                                               _        _    _   _
                                                                                        D-1-GN-22-oo161o
                                                                                         Gilberto Diaz_Rios

NEIL HESLIN, SCARLETT LEWIS,                                         I N T H E DISTRICT COURT




                                               §§§§§§§§§§
LEONARD POZNER, VERONIQUE DE
LA ROSA, MARCEL VONTAIN,

                 Plaintiffs,

v.

ALEX E. JONES, INFO WARS, LLC,                                        200T" JUDICIAL DISTRICT
FREE SPEECH SYSTEMS, LLC, PQPR
HOLDINGS LIMITED LLC, JLJR
HOLDINGS, LLC, PLJR HOLDINGS,
LLC, CAROL JONES, DAVID JONES,
PQPR HOLDINGS, LLC, JLJR
HOLDINGS LIMITED, LLC, AEJ
HOLDINGS, LLC, AEJ TRUST 2018
                                                                       TRAVIS COUNTY, TEXAS
                 Defendants.

     PQPR HOLDINGS LIMITED LLC'S, JLJR HOLDINGS, LLC'S AND PLJR
                HOLDINGS. LLC'S ORIGINAL ANSWER

       Defendants PQPR Holdings Limited                     LLC, JLJR Holdings, LLC, and PLJR

Holdings, LLC (collectively, "Defendants") ﬁles this Original Answer to Plaintiffs'

Original Petition, and Defendants respectfully show the Court as follows:

       as follows:

                                   I.   GENERAL DENIAL
       1.        As is their right pursuant to Rule 92 of the Texas Rules of Civil Procedure,

Defendants generally deny each and every allegation of the Petition and demand strict

proof thereof.
       Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 44 of 94




                                II.     RIGHT TO AMEND
        2.     Defendants reserve the right to amend their answer in accordance with the

Texas Rules of Civil Procedure.

                                       III.      PRAYER
        3.     Defendants pray that Plaintiff be denied all relief requested in the Petition,

that Plaintiff takes nothing in this action, and that the Court award Defendants their


attorneys' fees and costs together with such other and further relief to which they may be

justly entitled.

                                      Respectfully submitted,

                                      By:     /s/ Stephen W. Lemmon
                                              Stephen W. Lemmon
                                              Texas Bar No. 12194500
                                              STREUSAND, LANDON, OZBURN & LEMMON, LLP
                                              1801 S. Mopac Expressway, Ste. 320
                                              Austin, Texas 78746
                                              Telephone: (512) 236-9900
                                              Facsimile: (512) 236-9904
                                              lemmon@slollp.com

                                              ATTORNEYS FOR DEFENDANTS
                                              PQPR HOLDINGS LIMITED LLC, JLJR
                                              HOLDINGS, LLC, AND PLJR HOLDINGS, LLC




                                                  2
      Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 45 of 94




                             CERTIFICATE OF SERVICE
I hereby certify that a true and complete copy of the foregoing instrument has been
served on this 3RD day of June 2022, served via this Court's CM/ECF notiﬁcation system to
those parties registered for service upon ﬁling of the same, including the following:



      Mark D. Bankston
      Kaster Lynch Farrar & Ball, LLP
      l l l7 Herkimer
      Houston, TX 77008
      mark@fbtrial.com

      Cordt Akers
      The Akers Firrn PLLC
      3401 Allen Parkway, Suite 101
      Houston, TX 77019
      cca@akersﬁrm.com

      Nick Lawson
      McDowell Hetherington
       1001 Fannin Street, Suite 2700
      Houston, TX 77002
      Nick.lawson@mhllp.com



                                         /S/ Stephen W. Lemmon
                                         Stephen W. Lemmon




                                            3
          Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 46 of 94

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Kelli Rangel on behalf of Stephen Lemmon
Bar No. 12194500
rangel@slollp.com
Envelope lD: 65127020
Status as of 6/8/2022 9:38 AM CST

Case Contacts

Name              BarNumber   Email                 TimestampSubmitted      Status
Mark Bankston     24071066    mark@fbtria|.com      6/3/2022 4:55:06 PM     SENT
Cordt Akers       24080122    cca@akersfirm.com     6/3/2022 4:55:06 PM     SENT


Associated Case Party: NEIL HESLIN

Name                  BarNumber       Email                        TimestampSubmitted    Status
Nicholas Lawson                       nick.lawson@mhllp.com        6/3/2022 4:55:06 PM   SENT
Avishay Moshenberg                    avi.moshenberg@mhllp.com     6/3/2022 4:55:06 PM   SENT
Matthew Caldwell                      matthew.caldwell@mhllp.com   6/3/2022 4:55:06 PM   SENT


Associated Case Party: PQPR HOLDINGS LIMITED LLC

Name                BarNumber   Email                 TimestampSubmitted      Status

Stephen Lemmon                  Iemmon@slollp.com     6/3/2022 4:55:06 PM     SENT


Associated Case Party: PLJR HOLDINGS, LLC

Name                BarNumber   Email                 TimestampSubmitted      Status

Stephen Lemmon                  Iemmon@slollp.com     6/3/2022 4:55:06 PM     SENT


Associated Case Party: JLJR HOLDINGS LLC

Name                BarNumber   Email                 TimestampSubmitted      Status

Stephen Lemmon                  lemmon@slollp.com     6/3/2022 4:55:06 PM     SENT
Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 47 of 94
                                                                                   6/6/2022 2:36 PM
                                                                                      Velva L. Price
                                                                                      District Clerk
                                                                                     Travis County
                                                                                  D-1-GN-22-001610
                                                                                   Gilberto Diaz-Rios

                         CAUSE NO. D-l-GN-22-001610

   NEIL HESLIN, SCARLETT              §   IN THE DISTRICT COURT
   LEWIS, LEONARD POZN               §
   ER, VERONIQUE DE LA                §
   ROSA, MARCEL                       §
   FONTAINE                           §
        Plaintiffs                    §
                                      §
   V.                                 §   TRAVIS COUNTY, TEXAS
                                      §
   ALEX E. JONES, INFOWARS, §
   LLC, FREE SPEECH SYS- §
   TEMS, LLC, PQPR HOLD-              §
   INGS, LLC, PLJR HOLD-              §
   INGS, LLC, JLJR HOLDINGS
   LIMITES, LLC, AEJ HOLD-
   INGS, LLC, AE] TRUST 2018,         §   200TH JUDICIAL DISTRICT
        Defendants.                   §




                       DEFENDANTS' ORIGINAL ANSWER


          Defendants, ALEX E. JONES, LLC, FREE SPEECH SYSTEMS,

  LLC, AEJ HOLDINGS, LLC, and AEJ TRUST 2018, ﬁle this their Original

  Answer to Plaintiffs, NEIL HESLIN,        SCARLETT LEWIS, LEONARD

  POZNER, VERONIQUE DE LA ROSA, and MARCEL FONTAINE'S

  Original Petition.

          The last three digits of defendant Alex Jones' social security number

  are 989. The last three digits of defendant Free Speech Systems LLC's EIN


  are 005. The last three digits of defendant AEJ Holdings LLC's EIN are 167.
Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 48 of 94




  The last three digits of the AEJ Trust 2018's EIN are 490.

                            I.         GENERAL DENIAL

  1.    Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants


       deny each and every allegation contained in Plaintiffs' Petition, and de-

       mand strict proof thereof.

                                 II.     CONCLUSION

          WHEREFORE, PREMISES CONSIDERED, Defendants pray that

  Plaintiffs, NEIL HESLIN,             SCARLETT LEWIS, LEONARD POZNER,

  VERONIQUE DE LA ROSA, and MARCEL FONTAINE, take nothing by

  this suit and that this action be dismissed. Defendants further pray that

  Defendants be awarded their attorneys' fees, costs, and pre-judgment and


  post-judgment interest, and such other and further relief, at law or in equity,

  to which they may be justly entitled.




                                                         Respectfully submitted,

                                                               /s/ F. Andino Reynal
                                                                   SBN: 24060482
                                                   The Reyna] Law Firm, LLP
                                                  917 Franklin Street, Suite 600
                                                         Houston, Texas 77002
                                                             Tel: 713.228.5900
                                                             Fax: 713.820.6981
                                                                 areynal@frlaw.us
Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 49 of 94




                        CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document


  has been served pursuant to Rule 21 of the Texas Rules of Civil Procedure


  through the electronic ﬁling system on the 6th day of June, 2022:




                                                           /s/ F. Andino Revnal


                                                              F. Andino Reynal
          Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 50 of 94

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Tish Swearington on behalf of F. Reynal
Bar No. 24060482
tish@frlaw.us
Envelope lD: 65162126
Status as of 6/8/2022 5:08 PM CST

Case Contacts

Name               BarNumber    Email                TimestampSubmitted     Status
Mark Bankston      24071066     mark@fbtria|.com     6/6/2022 2:36:45 PM    SENT
Cordt Akers        24080122     cca@akersfirm.com    6/6/2022 2:36:45 PM    SENT
Federico Reynal    24060482     areynal@frlaw.us     6/6/2022 2:36:45 PM    SENT


Associated Case Party: NEIL HESLIN

Name                  BarNumber     Email                         TimestampSubmitted    Status
Nicholas Lawson                     nick.lawson@mhllp.com         6/6/2022 2:36:45 PM   SENT
Avishay Moshenberg                  avi.moshenberg@mhllp.com      6/6/2022 2:36:45 PM   SENT
Matthew Caldwell                    matthew.caldwell@mhllp.com    6/6/2022 2:36:45 PM   SENT


Associated Case Party: PQPR HOLDINGS LIMITED LLC

Name                BarNumber    Email                TimestampSubmitted     Status

Stephen Lemmon                   Iemmon@slollp.com    6/6/2022 2:36:45 PM    SENT


Associated Case Party: PLJR HOLDINGS, LLC

Name                BarNumber    Email                TimestampSubmitted     Status

Stephen Lemmon                   Iemmon@slollp.com    6/6/2022 2:36:45 PM    SENT


Associated Case Party: JLJR HOLDINGS LLC

Name                BarNumber    Email                TimestampSubmitted     Status

Stephen Lemmon                   Iemmon@slollp.com    6/6/2022 2:36:45 PM    SENT
                            Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 51 of 94
                                                                                          "'
                                                                                  «.6
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                                                                                          V35;

                   IT IS HEREBY ADJUDGED and DECREED that the
                                                                                          015     ct
                   below described is SO ORDERED.

                   Dated: June o7, 2022

                                                                   WWW MICHAEL M. PARKER
                                                                 UNITED STATES BANKRUPTCY JUDGE



                                                                                    Filed in The District Cour?
                                                                                     of Travis County, Texas
                                          IN THE UNITED STATES BANKRUPTCY COURT
                                                                                           JUN i 3 2022
                                             FOR THE WESTERN DISTRICT OF TEXAS
                                                       WACO DIVISION                At                           _
                                                                                                                     ,3"
                                                                                     Velva 1.. Price. Disi-ic'

                   IN RE:                                   §.         CASE PENDING IN
                                                            §.         US. BANKRUPTCY COURT FOR THE
                                                            §.         SOUTHERN DISTRICT OF TEXAS
                   INFOW, LLC, ETAL.,                       §.         CASE NO. 22-60020
                                                            §.
                                   DEBTORS.                 §.         CHAPTER 7
                                                            §.
                                                            §
              ,    NEIL HESLIN, SCARLETT LEWIS,             §
:y?",1|l{l§[¥;f§
                   LEONARD POZNER, VERONIQUE DE LA ROSA     §
                   & MARCEL FONTAINE                        §
                                                            §
                                   PLAINTIFFS,              §
                                                            §.
                   V                                        §          ADVERSARY NO. 22-06004-MMP
                                                            §
                   INFOW, LLC, ALEX E. JONES &              §
                   FREE SPEECH SYSTEMS, LLC,                §
                                                            §
                                   DEFENDANTS.              §
                                                                                Aunpyoﬂheominal Icemfy


                                                                                                WM/
                                                  ORDER GRANTING MOTION

                                                                                                   DEPUTY CLERK



M!"                                                                                                                    1m
        Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 52 of 94



        On this day came on to be considered Plaintifﬁv' Motion for Abstention and Remand

(ECF No. 2) (the "Motion for Remand"). Defendant InfoW, LLC, in InfoVI', LLC's Motion to
Strike Removal and Allow Remand (ECF No. 5), has indicated that it is unopposed to the Plaintiffs'

request to remand this suit, and the Court has received no other timely responses to the Motion for

Remand pursuant to Local Rule 7007(b)(2). Further, the Court notes that the debtors, the United

States trustee, and the subchapter V trustee in the underlying chapter                ll case in the U.S.
Bankruptcy Court for the Southern District of Texas have ﬁled a Stipulation and Agreed Order

Dismissing Debtors' Chapter 11 Casesl indicating that the aforementioned parties have agreed to

the dismissal of the debtors' chapter     ll cases. For these reasons, the Court is of the opinion that
the Motion for Remand should be granted.

        It is, therefore, ORDERED that the Motion for Remand is hereby GRANTED.

        It is further ORDERED that the above-captioned adversary proceeding is hereby

REMANDED to the 200th District Court, Travis County, Texas, for adjudication and disposition.

        It is further ORDERED that the Clerk of Court may close this adversary proceeding.

                                                    ###




1
 See Stipulation and Agreed Order Dismissing Debtors' Chapter 11 Cases, In re InfoW, LLC, No. 22-60020 (Banlq.
S.D. Tex. June l, 2022), ECF N0. 110.
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                                                                          6/17/2022 4:20 PM
                                                                              Velva L. Price
                                                                              District Clerk
                                                                             Travis County
                       CAUSE NO. D-1-GN-22-001610                         D-1-GN-22-001610
                                                                            Adrian Rodriguez
NEIL HESLIN, SCARLETT LEWIS,         §         IN THE DISTRICT COURT
LEONARD POZNER, VERONIQUE            §
DE LA ROSA, MARCEL FONTAINE,         §
       Plaintiffs                    §
                                     §
v.                                   §
                                     §         TRAVIS COUNTY, TEXAS
ALEX E. JONES, INFOWARS, LLC,        §
FREE SPEECH SYSTEMS, LLC,            §
PQPR HOLDINGS LIMITED LLC,           §
JLJR HOLDINGS, LLC, PLJR             §
HOLDINGS, LLC, CAROL JONES,          §
DAVID JONES, PQPR HOLDINGS,          §
LLC, JLJR HOLDINGS LIMITED,          §
LLC, AEJ HOLDINGS, LLC, AEJ          §
TRUST 2018,                          §
                                     §
       Defendants                    §         200th DISTRICT COURT
________________________             §

DAVID WHEELER, FRANCINE
WHEELER, JACQUELINE BARDEN,          §
MARK BARDEN, NICOLE                  §
HOCKLEY, IAN HOCKLEY,                §
JENNIFER HENSEL, DONNA SOTO,         §
CARLEE SOTO-PARISI, CARLOS M.        §
SOTO, JILLIAN SOTO, WILLIAM          §
SHERLACH, ROBERT PARKER,             §
WILLIAM ALDENBERG,                   §
     Intervenors                     §
                                     §
v.                                   §
                                     §
ALEX E. JONES, INFOWARS, LLC,        §
FREE SPEECH SYSTEMS, LLC,            §
PQPR HOLDINGS LIMITED LLC,           §
JLJR HOLDINGS, LLC, PLJR             §
HOLDINGS, LLC, CAROL JONES,          §
DAVID JONES, PQPR HOLDINGS,          §
LLC, JLJR HOLDINGS LIMITED,          §
LLC, AEJ HOLDINGS, LLC, AEJ          §
TRUST 2018,                          §
      Defendants                     §




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                    ORIGINAL PETITION IN INTERVENTION



                                      INTRODUCTION

       After Alex Jones was sued for claiming the shooting of twenty-six children and

educators at Sandy Hook Elementary School was a hoax, Jones diverted his assets to shell

companies owned by insiders like his parents, his children, and himself. Jones stashed

away millions of dollars from his fortune in this manner. The Texas Uniform Fraudulent

Transfer Act prohibits defendants from playing shell games to shield assets from their

creditors. And it allows creditors like these families to void such fraudulent transfers. The

families of five children and two educators and one first responder to the shooting, all of

whom brought suit against Jones in Connecticut, now join other Sandy Hook families who

brought suit against Jones in Texas in asserting TUFTA claims against Jones and his

insiders.

                                         PARTIES
Intervenors

       1.     Intervenors David Wheeler and Francine Wheeler are the parents of first-

grader Benjamin Wheeler. Benjamin was killed in the Sandy Hook Elementary School

shooting on December 14, 2012. They reside in Connecticut.

       2.     Intervenors Jacqueline Barden and Mark Barden are the parents of first-

grader Daniel Barden. Daniel was killed in the Sandy Hook Elementary School shooting

on December 14, 2012. They reside in Connecticut.




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       3.     Intervenors Nicole Hockley and Ian Hockley are the parents of first-grader

Dylan Hockley. Dylan was killed in the Sandy Hook Elementary School shooting on

December 14, 2012. They reside in Connecticut.

       4.     Intervenor Jennifer Hensel is the parent of first-grader Avielle Richman.

Avielle was killed in the Sandy Hook Elementary School shooting on December 14, 2012.

Ms. Hensel resides in Connecticut.

       5.     Intervenor Donna Soto is the mother, and plaintiffs Carlee Soto-Parisi,

Carlos M. Soto, and Jillian Soto are the siblings, of first-grade teacher Victoria Leigh Soto.

Vicki was killed in the Sandy Hook Elementary School shooting on December 14, 2012.

They reside in Connecticut.

       6.     Intervenor William Sherlach was the spouse of Mary Sherlach, the school

psychologist. Mary was killed in the Sandy Hook Elementary School shooting on

December 14, 2012. Mr. Sherlach resides in Connecticut.

       7.     Intervenor Robert Parker is the father of first-grader Emilie Parker. Emilie

was killed in the Sandy Hook Elementary School shooting on December 14, 2012.

He resides in Washington state.

       8.     Intervenor William Aldenberg was a first responder to Sandy Hook

Elementary School on December 14, 2012. He resides in Massachusetts.

       9.     This Petition in Intervention will refer to these seven families and one first

responder as the “Intervenors” or the “Connecticut Intervenors.”

The Jones Defendants

       10.    Defendant Alex E. Jones is a resident of Austin, Texas. He hosts radio and

web-based news programming, including “The Alex Jones Show,” and he owns Free

Speech Systems, LLC, which operates the website infowars.com. Jones has filed an


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answer and made an appearance in this lawsuit may be served with this Petition in

Intervention pursuant to Texas Rules of Civil Procedure 21 and 21a.

       11.    Defendant Free Speech Systems, LLC is a Texas limited-liability company

with principal offices located in Austin, Texas. Free Speech Systems, LLC has filed an

answer and made an appearance in this lawsuit and may be served with this Petition in

Intervention pursuant to Texas Rules of Civil Procedure 21 and 21a.

       12.    This Petition in Intervention will refer to Alex Jones and Free Speech

Systems, LLC as the “Jones Defendants.”

       13.    At all times relevant to this Petition in Intervention, these Jones Defendants

operated as a joint venture, joint enterprise, single-business enterprise, or alter ego.

The Jones Transferees

       14.    Defendant PQPR Holdings Limited LLC is a Nevada limited-liability

company. PQPR Holdings Limited LLC has filed an answer and made an appearance in

this lawsuit and may be served with this Petition in Intervention pursuant to Texas Rules

of Civil Procedure 21 and 21a.

       15.    Defendant JLJR Holdings, LLC is a Nevada limited-liability company. It

directly and indirectly owns, operates, and receives income from PQPR Holdings

Limited LLC. JLJR Holdings, LLC has filed an answer and made an appearance in this

lawsuit and may be served with this Petition in Intervention pursuant to Texas Rules of

Civil Procedure 21 and 21a.

       16.    Defendant PLJR Holdings, LLC is a Nevada limited-liability company. It

directly and indirectly owns, operates, and receives income from PQPR Holdings

Limited LLC. PLJR Holdings, LLC has filed an answer and made an appearance in this




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lawsuit and may be served with this Petition in Intervention pursuant to Texas Rules of

Civil Procedure 21 and 21a.

      17.    Defendant Carol Jones is a resident of Austin, Texas. She is Alex Jones’s

mother and directly and indirectly owns, operates, and receives income from PQPR

Holdings Limited LLC. She can be served personally at 3402 Clawson Road, Austin, Texas

78704 or wherever she can be found.

      18.    Defendant David Jones is a resident of Austin, Texas. He is Alex Jones’s

father and directly and indirectly owns, operates, and receives income from PQPR

Holdings Limited LLC. He can be served personally at 3402 Clawson Road, Austin, Texas

78704 or wherever he can be found.

      19.    Defendant PQPR Holdings, LLC is an entity that has been previously

identified by the Jones Defendants as a party to transfers or obligations that Intervenors

contend are fraudulent. To date, Intervenors have found no entity by this name and no

registered agent to receive service. They will amend this pleading accordingly when a

registered agent has been ascertained.

      20.    Defendant JLJR Holdings Limited, LLC is an entity listed as a member of

PQPR Holdings Limited, LLC and PLJR Holdings, LLC. To date, Intervenors have found

no entity by this name and no registered agent to receive service. They will amend this

pleading accordingly when a registered agent has been ascertained.

      21.    Defendant AEJ Holdings, LLC is an entity that has been identified

previously by the Jones Defendants as a party to transfers or obligations that Intervenors

contend are fraudulent. AEJ Holdings, LLC has filed an answer and made an appearance

in this lawsuit and may be served with this Petition in Intervention pursuant to Texas

Rules of Civil Procedure 21 and 21a.



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        22.      Defendant AEJ Trust 2018 is an entity that has been identified previously

by the Jones Defendants as a party to transfers or obligations that Intervenors contend

are fraudulent. AEJ Trust 2018 has filed an answer and made an appearance in this

lawsuit and may be served with this Petition in Intervention pursuant to Texas Rules of

Civil Procedure 21 and 21a.

        23.      This Petition in Intervention will refer to PQPR Holdings Limited LLC;

JLJR Holdings, LLC; PLJR Holdings, LLC; Carol Jones; David Jones; PQPR Holdings,

LLC; JLJR Holdings Limited, LLC; AEJ Holdings, LLC; and AEJ Trust 2018 as the

“Jones Transferees.”

        24.      At all times relevant to this Petition in Intervention, the Jones Transferees

and Defendant Alex Jones operated as a joint venture, joint enterprise, single-business

enterprise, or alter ego.

                                      DISCOVERY-CONTROL PLAN

        25.      Discovery should be conducted under Level 3 case of the Texas Rules of Civil

Procedure.1 Intervenors seek monetary relief over $1,000,000.2

                                      JURISDICTION AND VENUE

        26.      The amount in controversy exceeds the Court’s minimum jurisdictional

requirements.




1 See Tex. R. Civ. P. 190.

2 See Tex. R. Civ. P. 47. Plaintiffs may also seek injunctive relief, in which case they may request expedited

discovery. See Tex. R. Civ. P. 680.



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        27.     Venue is proper in Travis County because that’s where certain Defendants

resided when the cause of action accrued and because all or a substantial part of the events

or omissions giving rise to the claims occurred in Travis County.3

                                              BACKGROUND

        28.     Alex Jones, through his media company Free Speech Systems dba

InfoWars, became a national figure by pushing conspiracy theories designed to go viral.

Jones branded himself by claiming the Oklahoma City bombing was a government-

sponsored hoax; the 9/11 attacks were a government-sponsored hoax, and so on.

Leveraging his “news” content, Jones made millions by marketing and selling survivalist

gear, herbal supplements, and various other products at a huge mark-up. The sale of these

types of products on the InfoWars website and elsewhere enabled the Jones Defendants

to earn a fortune.

The Connecticut Intervenors sue the Jones Defendants

        29.     In 2018, the Connecticut Intervenors sued the Jones Defendants for false

light, defamation, intentional infliction of emotional distress, and violation of the

Connecticut Unfair Trade Practices Act, based on lies Alex Jones and Free Speech

Systems, LLC spread through Infowars.com, through social media re-broadcasts of his

publications,      and     through      radio     re-broadcasts      of    his    publications       (the

“Connecticut Cases”).4 The Intervenors allege, and have finally and conclusively




3 See Tex. Civ. Prac. & Rem. Code § 15.002.

4 These consolidated actions, now pending in the Connecticut Judicial District of Waterbury are: Lafferty,

Erica, et al. v. Jones, Alex Emric, et al., No. UWY-CV-XX-XXXXXXX-S; Sherlach, William v. Jones, Alex
Emric, et al., No. UWY-cv-18-064637-S; and Sherlach, et al. v. Jones, Alex Emric, et al., No. UWY-CV-18-
064638-S.



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established,5 that Alex Jones spread lies about them to an audience of millions over a

period of approximately five years.

         30.      In June 2019, the Connecticut Superior Court sanctioned Alex Jones and

Free Speech Systems, LLC for prolonged discovery abuses. The Connecticut Supreme

Court granted interlocutory review of the sanctions ruling and affirmed in all respects.

Lafferty v. Jones, 336 Conn. 332 (2020), cert denied, 141 S. Ct. 2467 (2021). Despite the

June 2019 sanction, the Jones Defendants continued to abuse the judicial process.

In November 2021, the Connecticut Superior Court entered a disciplinary default against

the Jones Defendants. Even following the default sanction, the Jones Defendants

continued to abuse the judicial process. In March 2022, Jones refused to attend his court-

ordered deposition, resulting in a contempt finding.

         31.      After cases were filed in Texas by other Sandy Hook families whom Jones

had defamed (the “Texas Cases”), and by the Connecticut Intervenors, the Jones

Defendants started diverting their assets. From 2018 to 2021, for example, Alex Jones

personally drew about $18 million from this active company, Free Speech Systems LLC.

These draws were in addition to his yearly salary, which exceeded $600,000, and taken

while Free Speech Systems operated at a net loss in the millions each of those years.

         32.      Jones apparently drew this $18 million while his company, Free Speech

Systems, was insolvent. On November 18, 2020, a company named PQPR filed a UCC

Financing Statement claiming a security interest in essentially everything Free Speech

Systems owns. The claimed security interest covers an alleged $54 million debt Free

Speech Systems owes to PQPR. The supposed debt allegedly began accruing years earlier


5
 The Connecticut Superior Court entered a disciplinary default against Alex Jones and Free Speech Systems, LLC on
November 15, 2021 (DN 574). As a result of that default, all of the Connecticut Intervenors’ allegations are established
as true, and Jones and Free Speech Systems, LLC have no further right to challenge them in the trial court.



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as part of an arrangement where Free Speech Systems sells PQPR’s products on the

InfoWars website. Under this claimed arrangement, PQPR was to be reimbursed for the

costs of the products and receive 70% of the sales revenue while Free Speech Systems

retained the other 30%. In practice, however, Free Speech Systems supposedly kept 100%

of the revenue for about seven years and did not pay for the goods PQPR provided—to the

point where a $54 million debt had accumulated. All the while, PQPR not only supplied

Free Speech Systems with more products to sell but also paid Free Speech Systems

millions of dollars a year to advertise on the InfoWars website. PQPR still supplies the

Jones Defendants with products to sell and pays for advertising on the website.

       33.    So why would an independent business like PQPR continue to engage in

such questionable transactions?

       34.    Because PQPR is not actually an independent business. On paper, it’s

obviously an insider of the Jones Defendants. It is owned and operated directly or

indirectly by Jones, his parents, and his children through an alphabet soup of shell entities

like JLJR Holdings Limited LLC; JLJR Holdings, LLC; PLJR Holdings, LLC; PQPR

Holdings, LLC; AEJ Holdings, LLC; and AEJ Trust 2018. In actuality, it is simply an alter

ego of Alex Jones. And any income PQPR receives—including from sources like the Jones

Defendants—goes to Alex Jones and these Jones Transferees.

       35.    After the Texas and Connecticut Cases began, the Jones Defendants started

transferring large sums of money to the Jones Transferees. In the summer of 2021, as

defaults were entered in Texas and a default in Connecticut appeared imminent, Free

Speech Systems was transferring between $11,000 per day and $11,000 per week plus

60–80% of Free Speech Systems’ sales revenue to PQPR. Free Speech Systems claims

these payments are part of a “financial disentanglement between the two companies[.]”



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In reality, they are transfers designed to siphon off the Jones Defendants’ assets to make

them judgment-proof.

          36.   This fact is only confirmed by the jaw-dropping amount in transfers the

Jones Defendants made while the Texas Cases and Connecticut Cases have been pending.

In 2021 alone, the Jones Defendants transferred tens of millions more than it cost to

operate that year out of Free Speech Systems, LLC.

                                         CAUSES OF ACTION

          37.   The Connecticut Intervenors assert fraudulent transfer claims under the

Texas Uniform Fraudulent Transfer Act to void transfers between the Jones Defendants

and the Jones Transferees. Texas enacted TUFTA to prevent debtors from prejudicing

creditors by improperly moving assets beyond their reach.6 Through TUFTA’s statutory

scheme, creditors may seek recourse for fraudulent transfers of assets or property.7

The Connecticut Intervenors are creditors entitled to recourse under TUFTA because the

Jones Defendants engaged in fraudulent transfers and conspired to commit fraudulent

transfers.8

Count 1—Fraudulent Transfer with actual intent to hinder, delay, or defraud
under § 24.005(a)(1)

          38.   The Connecticut Intervenors reallege and incorporate by reference the prior

facts alleged in this pleading.



6 Janvey v. Golf Channel, Inc., 487 S.W.3d 560, 566 (Tex. 2016).

7 Sargeant v. Al Saleh, 512 S.W.3d 399, 411–12 (Tex. App.—Corpus Christi-Edinburg 2016, no pet.) (citing

cases).
8 See Tex. Bus. & Com. Code § 24.002 (defining “creditor” as a person who has a “claim” and “claim” as a

right to payment including whether or not reduced to judgment, liquidated, unliquidated, fixed, contingent,
matured, unmatured, disputed, or undisputed); see also Bank of Am., N.A. v. Fulcrum Enterprises, LLC,
20 F. Supp. 3d 594, 601 (S.D. Tex. 2014) (explaining that a person my bring a TUFTA action as a creditor
of the transferor by virtue of a legal action, pending and unliquidated at the time of transfer).



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         39.    The Jones Defendants are liable for engaging in fraudulent transfers as to

present and future creditors under § 24.005(a)(1).9 A transfer made or obligation incurred

by a debtor is fraudulent as to a creditor under this section if the debtor made the transfer

or incurred the obligation with the actual intent to hinder, delay, or defraud any creditor

of the debtor.10 Such transfers or obligations are fraudulent whether the creditor’s claim

arose before or within a reasonable time after the transfers were made or obligations

incurred.11

         40.    The Jones Defendants engaged in fraudulent transfers under this standard.

During the Connecticut Cases—while the Connecticut Intervenors were creditors—the

Jones Defendants transferred millions of dollars from Free Speech Systems for reasons

unrelated to Free Speech Systems’ business operations. In 2021 alone, they transferred

from Free Speech Systems tens of millions more than it cost to operate that year.

         41.    Transfers by the Jones Defendants while the Connecticut Cases were

pending also include payments to insiders, like Alex Jones himself. From 2018 to 2021,

for example, Jones apparently drew $18 million from Free Speech Systems, even though

it was insolvent and operating at a net loss each of those years. These draws were in

addition to (and about 30 times greater than) Jones’s yearly salary.

         42.    And since the Connecticut Cases began, the Jones Defendants also

transferred large sums to other insiders, like the Jones Transferees. These sums include

money the Jones Defendants started regularly transferring from Free Speech Systems to


9 Tex. Bus. & Com. Code § 24.005(a)(1) (“(a) A transfer made or obligation incurred by a debtor is fraudulent

as to a creditor, whether the creditor’s claim arose before or within a reasonable time after the transfer was
made or the obligation was incurred, if the debtor made the transfer or incurred the obligation: (1) with
actual intent to hinder, delay, or defraud any creditor of the debtor;”).
10 Id.

11 Id.




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insider PQPR. Specifically, PQPR started receiving as much as $11,000 per day plus 60–

80% of Free Speech Systems’ sales revenue. These payments are allegedly to pay just the

interest on the fake $54 million obligation to PQPR, which the Jones Defendants decided

that Free Speech incurred just after it became clear that the Connecticut cases would

proceed to trial. 12 All the while the Jones Defendants retained possession and control of

these money transfers and obligations, as the money PQPR receives from Free Speech

Systems goes directly and indirectly to insiders like Alex Jones, his parents, and his

children through some or more of the shell entities named as the Jones Transferees.

        43.     These transfers and obligations that the Jones Defendants made and

incurred were done with the actual intent to hinder, delay, or defraud their creditors—

including the Connecticut Intervenors. That truth becomes especially glaring considering

the badges of fraud surrounding these transfers and obligations.13 Those badges include,

for example, that the transfers and obligations were made to insiders who retained

possession and control over the property; the transfers and obligations were concealed

and made while the Texas Cases and Connecticut Cases were pending and while the Jones

Defendants were insolvent; and that past and future transfers to PQPR will eliminate

substantially all of the Jones Defendants’ assets—as these essential assets paid to insider


12 Less than a month after the Superior Court in Connecticut green-lighted the Connecticut cases to

proceed when it denied a stay of the action, PQPR first filed a UCC Financing Statement claiming a
security interest in Free Speech Systems, LLC’s assets.
13 Tex. Bus. & Com. Code § 24.005(b) (“(b) In determining actual intent under Subsection (a)(1) of this

section, consideration may be given, among other factors, to whether: (1) the transfer or obligation was to
an insider; (2) the debtor retained possession or control of the property transferred after the transfer; (3)
the transfer or obligation was concealed; (4) before the transfer was made or obligation was incurred, the
debtor had been sued or threatened with suit; (5) the transfer was of substantially all the debtor’s assets;
(6) the debtor absconded; (7) the debtor removed or concealed assets; (8) the value of the consideration
received by the debtor was reasonably equivalent to the value of the asset transferred or the amount of the
obligation incurred; (9) the debtor was insolvent or became insolvent shortly after the transfer was made
or the obligation was incurred; (10) the transfer occurred shortly before or shortly after a substantial debt
was incurred; and (11) the debtor transferred the essential assets of the business to a lienor who transferred
the assets to an insider of the debtor.”).



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and supposed secured creditor PQPR will be subsequently transferred to insiders like Alex

Jones, his parents, and his children through the Jones Transferees.

        44.     The Jones Defendants are thus liable under § 24.005(a)(1) and the

Connecticut Intervenors seek the remedies available under TUFTA against not only the

Jones Defendants as transferors but also Jones and the Jones Transferees as transferees.

Among the remedies the Connecticut Intervenors seek is to void the transfers made by

the Jones Defendants to Alex Jones and the Jones Transferees or to recover from

Alex Jones and the Jones Transferees the value of the transfers they received from the

Jones Defendants.14

Count 2—Fraudulent Transfer without receiving reasonably equivalent value
under § 24.005(a)(2)

        45.     The Connecticut Intervenors reallege and incorporate by reference the prior

facts alleged in this pleading.

        46.     The Jones Defendants are liable for engaging in fraudulent transfers as to

present and future creditors under § 24.005(a)(2).15 A transfer made or obligation

incurred by a debtor is fraudulent as to a creditor under this section if the debtor made

the transfer or incurred the obligation without receiving a reasonably equivalent value in

exchange for the transfer or obligation, and either (1) the debtor was engaged or was

about to engage in a business or a transaction for which the remaining assets of the debtor



14 Tex. Bus. & Com. Code § 24.008.

15 Tex. Bus. & Com. Code § 24.005(a)(2) “(a) A transfer made or obligation incurred by a debtor is fraudulent

as to a creditor, whether the creditor’s claim arose before or within a reasonable time after the transfer was
made or the obligation was incurred, if the debtor made the transfer or incurred the obligation: . . . (2)
without receiving a reasonably equivalent value in exchange for the transfer or obligation, and the debtor
(A) was engaged or was about to engage in a business or a transaction for which the remaining assets of the
debtor were unreasonably small in relation to the business or the transaction; or (B) intended to incur, or
believed or reasonably should have believed that the debtor would incur, debts beyond the debtor’s ability
to pay as they became due.”).



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were unreasonably small in relation to the business or transaction; or (2) the debtor

intended to incur, or believed or reasonably should have believed that the debtor would

incur, debts beyond the debtor’s ability to pay as they became due.16 Such transfers or

obligations are fraudulent whether the creditor’s claim arose before or within a

reasonable time after the transfers were made or obligations incurred.17

         47.   Under these standards the Jones Defendants committed fraudulent

transfers as to the Connecticut Intervenors. While the Connecticut Cases were pending—

that is, while the Connecticut Intervenors were their creditors—the Jones Defendants

transferred millions of dollars from Free Speech Systems without receiving reasonably

equivalent value in exchange, and while the Jones Defendants’ assets were unreasonably

small. Moreover, the Jones Defendants incurred millions of dollars in obligations they

intended or reasonably should have believed they would be unable to pay as they became

due.

         48.   For instance, in 2021 the Jones Defendants transferred from Free Speech

Systems tens of millions more than it cost to operate the company. These transfers were

unrelated to operating the business and thus weren’t in exchange for reasonably

equivalent value. And these transfers far exceeded Free Speech Systems’ assets—and any

of the Jones Defendants for that matter—which were unreasonably small compared to the

millions transferred away.

         49.   And from 2018 to 2021, the Jones Defendants also transferred from Free

Speech Systems to Alex Jones about $18 million on top of the already substantial salary

he received. Of course, these $18 million in draws weren’t for reasonably equivalent value,


16 Id.

17 Id.




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especially given that Free Speech Systems was supposedly operating at a loss at that time

and allegedly had other substantial debts to insider PQPR it hadn’t been paying for years.

And these $18 million in transfers virtually eliminated Free Speech Systems’ remaining

assets, which were already unreasonably small compared to the $18 million that had been

transferred.

          50.   And around the time that default judgments were rendered against the

Jones Defendants in the Connecticut Cases and Texas Cases, the Jones Defendants

supposedly incurred an obligation to insider PQPR to pay the interest on the fake

$54 million debt to PQPR. (Until the default judgments entered, Free Speech Systems

didn’t pay anything on its supposed debt to PQPR.) Although Free Speech Systems was

supposedly paying only interest, it paid as much as $11,000 per day plus 60–80% of its

sales revenue. Incurring such a hefty obligation to cover only the interest on an alleged

debt to an insider is not for reasonably equivalent value. And the Jones Defendants

intended to incur or believed or reasonably should have believed that Free Speech

Systems was incurring, debts beyond its ability to pay as they became due. After all, given

that 100% of Free Speech Systems’ sales revenue was already too little to cover its

operating expenditures, counting on only 20–40% of sales revenue to cover operating

expenditures would be quixotic. The Jones Defendants knew or should have known their

new obligation to insider PQPR—which is directly and indirectly run by and benefits Alex

Jones, his parents, and his children through the Jones Transferees—is beyond their ability

to pay.

          51.   This of course rests against the backdrop of the false $54 million obligation

Free Speech Systems now claims it owes PQPR. Free Speech Systems apparently did not

recognize any obligation to PQPR before the Connecticut and Texas Cases. Only after it



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was clear that the Connecticut Cases would move forward to trial did any evidence of an

obligation by Free Speech Systems to PQPR surface. That Free Speech Systems speciously

and needlessly agreed to take on a $54 million obligation to an insider is not an obligation

in exchange for reasonably equivalent value. And it’s an obligation the Jones Defendants

apparently intended to incur or believed or reasonably should have believed they would

incur and would be beyond their ability to pay as they became due.

        52.        The Jones Defendants are thus liable under § 24.005(a)(2) and the

Connecticut Intervenors seek the remedies available under TUFTA against not only the

Jones Defendants as transferors but also Alex Jones and the Jones Transferees as

transferees. Among the remedies they seek is to void the transfers made by the Jones

Defendants to Alex Jones and the Jones Transferees or to recover from Alex Jones and

the Jones Transferees the value of the transfers they received from the Jones

Defendants.18

Count 3—Fraudulent Transfer without receiving reasonably equivalent value
under § 24.006(a)

        53.     The Connecticut Intervenors reallege and incorporate by reference the prior

facts alleged in this pleading.

        54.     The Jones Defendants are liable for engaging in fraudulent transfers as to

present creditors under § 24.006(a).19 A transfer made or obligation incurred by a debtor

is fraudulent as to a creditor whose claim arose before the transfer was made or the




18 Tex. Bus. & Com. Code § 24.008.

19 Tex. Bus. & Com. Code § 24.006(a) (“(a) A transfer made or obligation incurred by a debtor is fraudulent

as to a creditor whose claim arose before the transfer was made or the obligation was incurred if the debtor
made the transfer or incurred the obligation without receiving a reasonably equivalent value in exchange
for the transfer or obligation and the debtor was insolvent at that time or the debtor became insolvent as a
result of the transfer or obligation.”).



                                                    16
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obligation was incurred if the debtor made the transfer or incurred the obligation without

receiving a reasonably equivalent value in exchange for the transfer or obligation and the

debtor was insolvent at that time or the debtor became insolvent as a result of the transfer

or obligation.20

         55.   The Jones Defendants also committed fraudulent transfers under this

standard. While the Connecticut Intervenors were creditors and while the Jones

Defendants were insolvent, the Jones Defendants transferred millions of dollars without

receiving reasonably equivalent value. These transfers include the tens of millions

transferred from Free Speech Systems in 2021 that were unrelated to its operation. They

also include $18 million that Jones drew from his business, Free Speech Systems. And

they include the Jones Defendants’ payments on just the interest on an alleged

$54 million debt Free Speech Systems owes insider PQPR—payments that include as

much as $11,000 per day plus 60–80% of Free Speech Systems’ sales revenue. As

explained in prior sections, none of these transfers and obligations were in exchange for

reasonably equivalent value. And all were apparently made and incurred while the Jones

Defendants were insolvent—or they became insolvent as a result of these transfers and

obligations.

         56.   The Jones Defendants are thus liable under § 24.006(a) and the

Connecticut Intervenors seek the remedies available under TUFTA against not only the

Jones Defendants as transferors but also Alex Jones and the Jones Transferees as

transferees. Among the remedies they seek is to void the transfers made by the Jones

Defendants to Alex Jones and the Jones Transferees or to recover from Alex Jones and




20 Id.




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the Jones Transferees the value of the transfers they received from the Jones

Defendants.21

Count 4—Fraudulent Transfer without receiving reasonably equivalent value
under § 24.006(b)

         57.    The Connecticut Intervenors reallege and incorporate by reference the prior

facts alleged in this pleading.

         58.    The Jones Defendants are liable for engaging in fraudulent transfers as to

present creditors under § 24.006(b).22 A transfer made by a debtor is fraudulent as to a

creditor whose claim arose before the transfer was made if the transfer was made to an

insider for an antecedent debt, the debtor was insolvent at that time, and the insider had

reasonable cause to believe that the debtor was insolvent.23

         59.    The Jones Defendants engaged in fraudulent transfers under this standard.

After the Connecticut Intervenors’ claims against the Jones Defendants arose, the Jones

Defendants started repaying an alleged debt to insider PQPR, which is owned directly and

indirectly by Alex Jones, his parents, and his children through various entities—the Jones

Transferees. Moreover, income that PQPR receives from Free Speech Systems, for

example, is directly and indirectly paid to Alex Jones, his parents, and his children though

the Jones Transferees. The Jones Defendants made these transfers to pay off this

antecedent debt to insider PQPR directly (and Alex Jones and the Jones Transferees

indirectly) while they were insolvent. And the Jones Transferees, including PQPR, had



21 Tex. Bus. & Com. Code § 24.008.

22 Tex. Bus. & Com. Code § 24.006(b) (“(b) A transfer made by a debtor is fraudulent as to a creditor whose

claim arose before the transfer was made if the transfer was made to an insider for an antecedent debt, the
debtor was insolvent at that time, and the insider had reasonable cause to believe that the debtor was
insolvent.”).
23 Id.




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reasonable cause to believe that the Jones Defendants were insolvent at the time. After all,

the Jones Defendants allegedly failed to the pay the supposed debt to PQPR for years to

the point where the debt reached $54 million and exceeded the Jones Defendants’ assets.

       60.     And to the extent that the $18 million Jones drew from Free Speech Systems

between 2018 and 2021 were payments for antecedent debts, such payments are also

fraudulent transfers under this section. These transfers were made after the Connecticut

Intervenors’ claims against the Jones Defendants arose. As Free Speech Systems’ sole

owner, Alex Jones was its insider. And as its sole owner, Alex Jones had reasonable cause

to believe that Free Speech Systems was insolvent—and in fact was insolvent—when these

transfers to him were made.

       61.     The Jones Defendants are thus liable under § 24.006(b) and the

Connecticut Intervenors seek the remedies available under TUFTA against not only the

Jones Defendants as transferors but also Alex Jones and the Jones Transferees as

transferees. Among the remedies they seek is to void the transfers made by the Jones

Defendants to Alex Jones and the Jones Transferees or to recover from Alex Jones and

the Jones Transferees the value of the transfers they received from the Jones

Defendants.24

Count 5—Conspiracy to commit fraudulent transfers

       62.     The Connecticut Intervenors reallege and incorporate by reference the prior

facts alleged in this pleading.




24 Tex. Bus. & Com. Code § 24.008.




                                            19
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        63.         The Jones Defendants and the Jones Transferees are liable for conspiracy

to commit fraudulent transfers.25 The elements of a civil conspiracy are: (1) two or more

persons; (2) an end to be accomplished; (3) meeting of the minds on the end or course of

action; (4) one or more overt unlawful acts; and (5) proximately resulting in injury.26

        64.         Here, the Jones Defendants and the Jones Transferees conspired to commit

fraudulent transfers. As the prior paragraphs establish, the Jones Defendants and the

Jones Transferees conspired to siphon the Jones Defendants’ assets away to avoid paying

the Connecticut Intervenors in the Connecticut Cases. The Jones Defendants and the

Jones Transferees then proceeded with the course of action of transferring millions of

dollars in assets away from the Jones Defendants and having the Jones Defendants incur

millions of dollars in obligations to its insider Jones Transferees, who weren’t sued in the

Connecticut Cases. These overt acts are unlawful fraudulent transfers under TUFTA. And

they proximately resulted in injury to the Connecticut Intervenors. Diverting assets away

from the Jones Defendants to the Jones Transferees impairs the Connecticut Intervenors’

ability to collect on their judgments.

                                     CONDITIONS PRECEDENT

        65.         All conditions precedent to the Connecticut Intervenors’ claims for relief

have been performed or have occurred or have been waived.




25 In re Northstar Offshore Grp., LLC, 616 B.R. 695, 743 (Bankr. S.D. Tex. 2020) (citing Ramirez v.

Rodriguez (In re Ramirez), 413 B.R. 621, 629 (Bankr. S.D. Tex. 2009) and Biliouris v. Sundance Res., Inc.,
559 F. Supp. 2d 733, 740 (N.D. Tex. 2008)).
26 Id. at 743–44.




                                                   20
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                                ATTORNEY’S FEES AND INTEREST

         66.      The Connecticut Intervenors seek costs and attorney’s fees under § 24.013

of the Texas Uniform Fraudulent Transfer Act.27

         67.      The Connecticut Intervenors further seek pre- and post-judgment interest

on the amount of any judgment as allowed by law.

                                     REQUEST FOR DISCLOSURE

         68.      Defendants are requested to disclose, within 50 days of the service of this

request, the information or material described in Texas Rule of Civil Procedure 194.2.

                                          TRIAL BY JURY

         69.      The Connecticut Intervenors respectfully request a trial by jury.

                                        NOTICE OF INTENT

         70.      Under Rule 193.7, Connecticut Intervenors intend to use any documents

produced in response to written discovery requests at trial and in any pretrial matters in

the litigation.28

                                             PRAYER

         For these reasons, Connecticut Intervenors respectfully request that Jones

Defendants be cited to appear and answer and that judgment be awarded to Connecticut

Intervenors for the following:

         1)       avoidance of transfers or obligations to the extent necessary to satisfy
                  Connecticut Intervenors’ claims;

         2)       an attachment or any other provisional remedy against the assets
                  transferred or other property of the transferee in accordance with the
                  applicable Texas Rules of Civil Procedure and the Civil Practice and
                  Remedies Code relating to ancillary proceedings;

27 Tex. Bus. & Com. Code § 24.013.

28 Tex. R. Civ. P. 193.7.




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3)    an injunction—including temporary and permanent injunctive
      relief—against further disposition by the debtors or transferees, or
      both, of the assets transferred or of other property;

4)    an appointment of a receiver to take charge of the assets transferred
      or of other property of the transferees;

5)    to levy execution on assets transferred or their proceeds;

6)    actual damages, including direct, indirect, special, incidental, and
      consequential damages;

7)    exemplary damages;

8)    costs and reasonably attorney’s fees as are equitable and just;

9)    pre- and post-judgment interest;

10)   any other relief the circumstances may require.

                                  Respectfully submitted

                                  CAIN & SKARNULIS PLLC

                                  By:    /s/ Ryan E. Chapple
                                         Ryan E. Chapple
                                         State Bar No. 24036354
                                         Cain & Skarnulis PLLC
                                         303 Colorado Street, Suite 2850
                                         Austin, Texas 78701
                                         Telephone: (512) 477-5000
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                                  BYMAN & ASSOCIATES PLLC

                                  By:    /s/ Randy W. Williams
                                         Randy W. Williams
                                         State Bar No. 21566850
                                         Byman & Associates PLLC
                                         7924 Broadway, Suite 104
                                         Pearland, TX 77581
                                         Telephone: (281) 884-9262
                                         Email: rww@bymanlaw.com

                                  ATTORNEYS FOR CONNECTICUT
                                  INTERVENORS


                                    22
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                            CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the Original Petition in Intervention has
been forwarded to all counsel of record in accordance with the Texas Rules of Civil
Procedure on this 17th day of June 2022, as follows:

  Method of                   Parties                            Counsel
   Service
Electronic         Defendants                      Stephen W. Lemmon
Service            PQPR Holdings Limited LLC       lemmon@slollp.com
                                                   STREUSAND, LANDON, OZBURN &
                   JLJR Holdings, LLC                LEMMON, LLP
                                                   1801 S. MoPac Expressway
                   PLJR Holdings, LLC              Suite 320
                                                   Austin, TX 78746
                                                   512-236-9900
                                                   512-236-9904—Fax
Electronic         Defendants                      Andino Reynal
Service            Alex E. Jones                   areynal@frlaw.us
                                                   THE REYNAL LAW FIRM, LLP
                   Free Speech Systems, LLC        917 Franklin Street
                                                   Suite 600
                   AEJ Holdings, LLC               Houston, TX 77002
                                                   713-228-5900
                   AEJ Trust 2018                  713-820-6981–Fax


                                               /s/ Ryan E. Chapple
                                         Ryan E. Chapple




                                           23
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Arlana Prentice on behalf of Ryan Chapple
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Status as of 6/30/2022 12:03 PM CST

Associated Case Party: ALEXEJONES

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Federico Reynal    24060482    areynal@frlaw.us 6/17/2022 4:20:23 PM   SENT



Associated Case Party: NEIL HESLIN

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Nicholas Lawson                    nick.lawson@mhllp.com       6/17/2022 4:20:23 PM      SENT

Avishay Moshenberg                 avi.moshenberg@mhllp.com    6/17/2022 4:20:23 PM      SENT

Matthew Caldwell                   matthew.caldwell@mhllp.com 6/17/2022 4:20:23 PM       SENT



Associated Case Party: PQPR HOLDINGS LIMITED LLC

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Stephen Lemmon                     lemmon@slollp.com 6/17/2022 4:20:23 PM       SENT

Stephen W. Lemmon 12194500         lemmon@slollp.com 6/17/2022 4:20:23 PM       SENT



Associated Case Party: PLJR HOLDINGS, LLC

Name                  BarNumber    Email               TimestampSubmitted       Status

Stephen Lemmon                     lemmon@slollp.com 6/17/2022 4:20:23 PM       SENT

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Associated Case Party: JLJR HOLDINGS LLC

Name

Stephen Lemmon
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Stephen W. Lemmon 12194500   lemmon@slollp.com 6/17/2022 4:20:23 PM   SENT
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                                                                                           7/11/2022 12:00 AM
                                                                                                Velva L. Price
                                                                                                District Clerk
                                                                                                Travis County
                                CAUSE NO. D-1-GN-22-001610                                  D-1-GN-22-001610
                                                                                              Alexus Rodriguez

 NEIL HESLIN, SCARLETT LEWIS,                    §             I N T H E DISTRICT COURT
 LEONARD POZNER, VERONIQUE DE                    §
 LA ROSA, MARCEL VONTAIN,                        §
                                                 §
                Plaintiffs,                      §
                                                 §
 v.                                              §
                                                 §
 ALEX E. JONES, INFO WARS, LLC,                  §               200TH JUDICIAL DISTRICT
 FREE SPEECH SYSTEMS, LLC, PQPR                  §
 HOLDINGS LIMITED LLC, JLJR                      §
 HOLDINGS, LLC, PLJR HOLDINGS,                   §
 LLC, CAROL JONES, DAVID JONES,                  §
 PQPR HOLDINGS, LLC, JLJR                        §
 HOLDINGS LIMITED, LLC, AEJ                      §
 HOLDINGS, LLC, AEJ TRUST 2018                   §
                                                 §                 TRAVIS COUNTY, TEXAS
                Defendants.                      §
                                                 §
 DAVID WHEELER, FRANCINE                         §
 WHEELER, JACQUELINE BARDEN,                     §
 MARK BARDEN, NICOLE HOCKLEY,                    §
 IAN HOCKLEY, JENNIFER HENSEL,                   §
 DONNA SOTO, CARLEE SOTO-                        §
 PARISI, CARLOS M. SOTO, JILLIAN                 §
 SOTO, WILLIAM SHERLACH,                         §
 ROBERT PARKER, WILLIAM                          §
 ALDENBERG,                                      §
                                                 §
                Intervenors                      §



                  ORIGINAL ANSWER OF DAVID AND CAROL JONES

       Defendants David and Carol Jones (collectively, "Defendants") files this Original Answer

to Plaintiffs' Original Petition, and Defendants respectfully show the Court as follows:

                                   I. GENERAL DENIAL

       1.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants generally

       deny each and every allegation of the Petition and demand strict proof thereof.
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                                        II. PRAYER


       2.     Defendants pray that Plaintiffs be denied all relief requested in the

       Petition, that Plaintiffs takes nothing in this action, and that the Court award

       Defendants their attorneys' fees and costs together with such other and further

       relief to which they may be justly entitled.


                                                      Respectfully submitted,

                                                      By:/s/Stephen A. Roberts
                                                      Stephen A. Roberts
                                                      Texas Bar No. 17019200
                                                      Stephen A. Roberts, PC
                                                      1400 Marshall Ln.
                                                      Austin, Texas 78703
                                                      (512) 431-7337
                                                      sroberts@srobertslawfirm.com

                                                      ATTORNEY FOR DEFENDANTS
                                                      DAVID and CAROL JONES



                              CERTIFICATE OF SERVICE

       I hereby certify that a true and complete copy of the foregoing instrument has been
served on this 11th day of July 2022, served via this Court's CM/ECF notification system to
those parties registered for service upon -filing of the same.


                                           /s/Stephen A. Roberts
                                           Stephen A. Roberts
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Matthew Caldwell                  matthew.caldwell@mhllp.com 7/10/2022 3:43:45 PM      SENT



Case Contacts

Name               BarNumber   Email                          TimestampSubmitted     Status

Stephen Roberts                sroberts@srobertslawfirm.com   7/10/2022 3:43:45 PM   SENT
Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 81 of 94
                                                                8/16/2022 12:24 PM
                                                                     Velva L. Price
                                                                     District Clerk
                                                                    Travis County
                                                                 D-1-GN-22-001610
                                                                    Selina Hamilton
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Case Contacts
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Ryan E.Chapple                 rchapple@cstrial.com   9/21/2022 10:50:58 AM   SENT
Scotti Beam                    sbeam@cstrial.com      9/21/2022 10:50:58 AM   SENT
Mark Bankston    24071066      mark@fbtrial.com       9/21/2022 10:50:58 AM   SENT
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Associated Case Party: ALEXEJONES
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Federico Reynal   24060482     areynal@frlaw.us       9/21/2022 10:50:58 AM     SENT
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Associated Case Party: PQPR HOLDINGS LIMITED LLC
Name                 BarNumber     Email                 TimestampSubmitted      Status
Stephen W. Lemmon    12194500      lemmon@slollp.com     9/21/2022 10:50:58 AM   SENT
Stephen Lemmon                     lemmon@slollp.com     9/21/2022 10:50:58 AM   SENT
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Name                 BarNumber     Email                 TimestampSubmitted      Status
Stephen W. Lemmon    12194500      lemmon@slollp.com     9/21/2022 10:50:58 AM   SENT
Stephen Lemmon                     lemmon@slollp.com     9/21/2022 10:50:58 AM   SENT
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Stephen Lemmon                     lemmon@slollp.com     9/21/2022 10:50:58 AM   SENT
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Nicholas Lawson                    nick.lawson@mhllp.com        9/21/2022 10:50:58 AM   SENT
Avishay Moshenberg                 avi.moshenberg@mhllp.com     9/21/2022 10:50:58 AM   SENT
Matthew Caldwell                   matthew.caldwell@mhllp.com   9/21/2022 10:50:58 AM   SENT
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Arlana Prentice               aprentice@cstrial.com   9/21/2022 10:50:58 AM   SENT
Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 91 of 94
Case 22-03331 Document 1-1 Filed in TXSB on 10/27/22 Page 92 of 94
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